Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 1 of 97 PageID #: 892



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------X

 UNITED STATES OF AMERICA                        MEMORANDUM AND ORDER

             - against -                         10-cr-809 (S-2)(KAM)

 CHRISTOPHER BARRET et al.,
                Defendants.

 ------------------------------------X
 MATSUMOTO, United States District Judge:

             A three-count superseding indictment (the “Superseding

 Indictment”), filed on August 4, 2011, charges defendants

 Christopher Barret (“Barret”), Kareem Forrest (“Forrest”), Ryan

 Anderson (“Anderson”), Joseph Donaldson (“Donaldson”), Kerry

 Gunter (“Gunter”), Charles Jones (“Jones”), LaToya Manning

 (“Manning”), Leemax Neunie (“Neunie”), Vincent Quinones

 (“Quinones”), Leon Scarlett (“Scarlett”), Andre Wilson

 (“Wilson”) and FNU LNU also known as “Sox” 1 (collectively,

 “defendants”) with one count of conspiracy to distribute

 marijuana in violation of 21 U.S.C. §§ 841(a)(1), 2

 841(b)(1)(A)(vii) 3 and 846, 4 and 18 U.S.C. § 3551 et seq. 5           It



 1
   This individual was arrested on September 22, 2011, and identified as Omar
 Mitchell (“Mitchell”).
 2
   21 U.S.C. § 841(a)(1) makes it unlawful for any person to “knowingly or
 intentionally . . . manufacture, distribute, or dispense, or possess with
 intent to manufacture, distribute, or dispense, a controlled substance.”
 3
   Under 21 U.S.C. § 841(b)(1)(A)(vii), any violation of 21 U.S.C. § 841(a)(1)
 that involves “1000 kilograms or more of a mixture or substance containing a
 detectable amount of marijuana, or 1,000 or more marijuana plants regardless
 of weight” is punishable by a term of imprisonment of at least ten years, or
 at least twenty years “if death or serious bodily injury results from the use
 of such substance.”

                                        1
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 2 of 97 PageID #: 893



 also charges all defendants except Mitchell with one count of

 distribution of marijuana in violation of 21 U.S.C. §§ 841(a)(1)

 and 841(b)(1)(A)(vii), and 18 U.S.C. §§ 2 6 and 3551 et seq.              (ECF

 No. 210, Superseding Indictment (“S-2”) ¶¶ 1–3.)             In addition,

 the Superseding Indictment charges Barret, Forrest, Anderson,

 Gunter, Jones, Quinones, Scarlett, and Mitchell with one count

 of possession of a firearm in relation to drug trafficking in

 violation of 18 U.S.C. §§ 924(c)(1)(A), 7 2 and 3551 et seq.              The

 Superseding Indictment also contains criminal forfeiture

 allegations pursuant to 21 U.S.C. §§ 853(a), (p); 8            18 U.S.C. §

 924(d); 9 and 28 U.S.C. § 2461(c). 10      (S-2 ¶¶ 4–7.)




 4
   21 U.S.C. § 846 provides that the penalties for conspiracy match those for
 the substantive underlying offense.
 5
   18 U.S.C. 3551 et seq. generally provides penalties for offenses described
 in any federal statute.
 6
   18 U.S.C. § 2 provides, in relevant part: “Whoever . . . aids, abets,
 counsels, commands, induces or procures [the] commission” of an act or
 “willfully causes an act to be done” against the United States is punishable
 as a principal.
 7
   Under 18 U.S.C. § 924(c)(1)(A)(i), the use or possession of a firearm in
 relation or in furtherance of a drug trafficking crime is punishable by a
 term of imprisonment of at least five years.
 8
   Under 21 U.S.C. § 853(a), any person convicted of the offenses charged in
 Counts One or Two of the Superseding Indictment must forfeit to the United
 States “any property constituting, or derived from, any proceeds the person
 obtained, directly or indirectly, as the result of such violation; any of the
 person’s property used, or intended to be used, in any manner or part, to
 commit, or to facilitate the commission of, such violation; and . . . in the
 case of a person convicted of engaging in a continuing criminal enterprise .
 . . any of his interest in, claims against, and property or contractual
 rights affording a source of control over, the continuing criminal
 enterprise.” 21 U.S.C. § 853(p) provides that if, as a result of any act or
 omission of the defendant, property subject to forfeiture under subsection
 (a) is diminished in value or unavailable to the court, such property may be
 substituted by other property belonging to defendant.
 9
   18 U.S.C. § 924(d) provides for the seizure and forfeiture of any firearm
 involved in any knowing violation of 18 U.S.C. § 924.

                                        2
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 3 of 97 PageID #: 894



              Presently before the court are the following pre-trial

 motions filed by Anderson, Barret, Forrest, Jones, Manning and

 Scarlett (collectively, “movants”).

              Anderson moves for (a) inspection and release of the

 grand jury minutes; (b) suppression of Anderson’s post-arrest

 statements as fruit of his unlawful arrest; (c) dismissal of the

 Superseding Indictment on grounds that it alleges multiple

 conspiracies; and (d) severance of his trial from that of his

 co-defendants.     (ECF No. 250, Defense’s Pretrial Motions and

 Memorandum of Law in Support by Ryan Anderson (“Anderson

 Br.”).) 11

              Barret moves (a) to strike his aliases from the

 indictment; (b) to compel the provision of all discovery and

 evidence pursuant to Federal Rule of Criminal Procedure 16 and

 to direct the government to specify the relevant dates and times

 of pole camera and video surveillance images it intends to offer

 at trial; (c) to compel the provision of exculpatory and

 “potentially favorable evidence” pursuant to Brady v. Maryland,

 373 U.S. 83 (1963); (d) for a bill of particulars; (e) to compel

 the government to reveal “specific physical evidence” that it

 10
    Under 28 U.S.C. § 2461(c), if a defendant is convicted of an offense to
 which criminal forfeiture provisions apply, the court shall order the
 relevant forfeiture of property as part of the defendant’s sentence.
 11
    The court notes that counsel for Anderson once referred to his client as
 “Mr. Erskine” (see Anderson Br. at 20) and once referred to defendant
 Christopher Barret as “Richard barrett [sic]” (see id. at 22). These types
 of errors, which reflect lack of care and attention, are unacceptable,
 particularly where, as here, counsel’s client faces serious criminal charges.

                                        3
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 4 of 97 PageID #: 895



 intends to present at trial; (f) for dismissal of the indictment

 and a Cardona hearing; (g) for severance of his trial from that

 of his co-defendants; (h) for dismissal of the indictment if

 certain surveillance images were destroyed by the government;

 (i) to compel early disclosure of Rule 404(b) evidence; (j) to

 compel disclosure of Jencks Act/3500 material and the

 government’s witness list; (k) to compel the government to

 comply with Federal Rule of Evidence 104 in advance of trial;

 (l) to compel the government to identify informants and

 unindicted co-conspirators; (m) to require a hearing with

 respect to the authenticity, audibility and visual clarity of

 “any of any and all recorded statements and video images to be

 introduced at trial”; and (n) a hearing to determine whether

 certain co-conspirator statements may be admitted against him.

 (ECF No. 265–2, Memorandum in Support of Defendant Barret’s Pre-

 Trial Motions (“Barret Br.”).) 12

             Forrest moves for a bill of particulars.           (ECF No.

 257–3, Memorandum of Law in Support of Pre-Trial Motions by

 Kareem Forrest (“Forrest Br.”).)



 12
   The court spent substantial time and resources to review Barret’s many pre-
 trial motions, a number of which the court finds baseless. Indeed, the court
 notes that, as discussed in this Memorandum and Order, certain of Barret’s
 motions fall squarely outside the scope of well-settled legal precedents.
 See, e.g., Barret’s motion to compel early disclosure of Jencks material
 (section XIII) and motions to dismiss the indictment as insufficient and
 based on speculative allegations of destruction of evidence (section IX).
 The court cautions counsel who appear in this court not to submit claims
 without legal basis in the future.

                                        4
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 5 of 97 PageID #: 896



             Jones moves for (a) a bill of particulars and

 (b) severance of his trial from that of his co-defendants.                (ECF

 No. 261–2, Memorandum of Law in Support of Defendant Charles

 Jones’ Pretrial Motions (“Jones Br.”).)

             Manning moves for (a) severance of her trial from that

 of her co-defendants; and (b) suppression of her post-arrest

 statements as fruit of her unlawful arrest.              (ECF No. 256–2,

 Memorandum of Law in Support of Motion for Miscellaneous Relief

 by LaToya Manning (“Manning Br.”); ECF No. 280, Defendant Latoya

 Manning’s Reply Memorandum in Support of Motion for

 Miscellaneous Relief (“Manning Reply”).)

             Scarlett moves for (a) severance of his trial from

 that of his co-defendants; (b) a bill of particulars; and (c) a

 finding that the search warrant related to “subject telephone

 11” was legally insufficient.          (ECF No. 253, Memorandum of Law

 in Support of Defendant Leon Scarlett’s Pretrial Motion

 (“Scarlett Br.”).)

             The court will address Anderson’s motion to suppress

 separately, having recently conducted a suppression hearing,

 upon Anderson’s showing by affidavit that a hearing was arguably

 warranted.    The government opposes all movants’ motions.              (See

 generally ECF No. 276, Memorandum in Opposition (“Gov’t

 Opp’n”).)    The court has carefully reviewed the parties’



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Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 6 of 97 PageID #: 897



 submissions, and for the reasons set forth below, the movants’

 remaining motions are granted in part and denied in part.

                                 BACKGROUND

    I.    Charges

             The allegations in the Superseding Indictment, the

 Complaint and the government’s submissions are as follows:

             Between November 2006 and October 2010, defendants

 allegedly conspired to distribute and possess with intent to

 distribute one thousand kilograms or more of marijuana.               (S-2

 ¶ 1.)   In addition, the Superseding Indictment charges Barret,

 Forrest, Gunter, Anderson, Jones, Quinones, Scarlett and

 Mitchell with knowingly and intentionally carrying one or more

 firearms during and in relation to the drug trafficking

 conspiracy.    (Id. ¶ 3.)

             In furtherance of the conspiracy, defendants allegedly

 mailed packages containing marijuana from Arizona and California

 to two Queens mailbox drop locations rented to Andre Wilson.

 (ECF No. 1, Criminal Complaint (“Compl.”) ¶¶ 2–3.)             When the

 packages arrived in Queens, co-conspirators picked up the

 packages, removed the marijuana from the boxes, stored the drugs

 in various stash houses and distributed them to street-level

 distributors for final sale.       (Id. ¶ 2.)     Members of the

 conspiracy allegedly mailed proceeds from the illicit drug sales

 from the Eastern District of New York to their suppliers in

                                        6
Case 1:10-cr-00809-KAM   Document 289     Filed 11/16/11    Page 7 of 97 PageID #: 898



 California and Arizona through mail, electronic transfer of

 funds, or courier.      (Id.)

             The Drug Enforcement Administration (“DEA”), United

 States Postal Inspection Service (“Postal Inspectors”), and

 various local law enforcement agencies investigated this Queens-

 based drug distribution organization, which was allegedly led by

 Barret, for approximately one year.           (Id.)       In January 2010, the

 Postal Inspectors intercepted two large, brown cardboard boxes

 measuring approximately 18 x 18 x 18 inches (the “Intercepted

 Packages”) that had arrived at Wilson’s mailbox drop locations.

 (Id. ¶ 4.)    Upon executing a search warrant on the Intercepted

 Packages, the Postal Inspectors discovered that the boxes

 contained a total of approximately forty pounds of marijuana.

 (Id.)

             In August 2010, DEA agents installed a pole camera

 outside a suspected stash house in Queens, which was identified

 as the residence of Barret and his wife, Manning (the “Barret

 Residence”).    (Id. ¶ 5.)      Through that pole camera and other

 surveillance evidence, investigating agents observed numerous

 individuals--including the defendants--enter and exit the Barret

 Residence carrying brown cardboard boxes that closely resembled

 the Intercepted Packages.        (Id.)

             During a one-month period between August 28, 2010 and

 September 30, 2010, law enforcement officers tracked twenty-

                                          7
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 8 of 97 PageID #: 899



 three separate packages shipped by members of the organization

 to Wilson’s mailbox drop locations.          (Id. ¶ 7.)     Pole camera and

 physical surveillance revealed that in each instance, Wilson

 delivered the packages from the mailbox drop locations to

 Barret’s residence, where individuals--including Barret at

 times--unloaded the boxes.       (Id.)     The complaint alleges that

 each box contained approximately twenty pounds of marijuana.

 (Id.)

             Other surveillance revealed that individuals left

 multiple large garbage bags and stacks of flattened cardboard

 boxes at the curb of the Barret Residence for trash collection.

 (Id. ¶ 11.)    Surveilling agents believed that the discarded

 items contained packing materials used in the shipments of

 marijuana to Wilson’s mailbox drop locations.            (Id.)

             Several searches of the trash items taken from the

 front curb of the Barret Residence yielded garbage bags that

 contained small amounts of a substance that later field-tested

 positive for marijuana; paraphernalia such as rubber bands and

 “plastic strips from vacuum-sealed foodsaver bags,” which drug

 dealers allegedly often use to package drugs; and styrofoam

 peanuts, allegedly used to cushion the marijuana in the

 cardboard boxes shipped from Arizona and California to Wilson’s

 mailbox drop locations.      (Id. ¶¶ 9, 12.)



                                        8
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 9 of 97 PageID #: 900



             The Superseding Indictment also charges all defendants

 except Mitchell with distribution and possession with intent to

 distribute over 100 kilograms of marijuana on October 7, 2010.

 (S-2 ¶ 2.)    That day, Postal Inspectors identified nine packages

 that were shipped from Arizona to Wilson’s two mailbox drop

 locations.    (Compl. ¶ 15.)      Surveillance revealed that Wilson,

 who was followed closely by a minivan driven by Barret,

 retrieved the nine boxes from the mailbox drop locations.               (Id.)

 Wilson and Barret then drove their respective vehicles to

 Barret’s home, where they unloaded the boxes and brought them

 into the Barret Residence.        (Id.)

             Wilson and Barret then left the vicinity, although

 Wilson was subsequently arrested several blocks away while

 driving his vehicle.      (Id.)    Similarly, law enforcement agents

 arrested Barret approximately two blocks away from the Barret

 Residence as he drove the minivan.         (Id.)

             In the meantime, having observed these events, agents

 obtained and executed a search warrant upon the Barret

 Residence.    (Id. ¶ 16.)    Gunter, Manning, Forrest and Anderson,

 together with others, were present in the Barret Residence at

 the time of the agents’ search, which revealed the nine

 cardboard boxes that Barret and Wilson had unloaded into the

 home.   (Id.)   Each box contained a green leafy substance that

 subsequently tested positive for marijuana.             (Id.)   Agents also

                                        9
Case 1:10-cr-00809-KAM    Document 289   Filed 11/16/11   Page 10 of 97 PageID #: 901



  saw brick-like bales of marijuana, which had been removed from

  two of the boxes prior to the search, in plain view on the

  kitchen counter.       (Id.)   In addition, the search yielded a black

  garbage bag full of marijuana, heat-sealer machines, narcotics

  packaging materials consistent with those found during the trash

  inspections, and a loaded, semi-automatic .40-caliber pistol on

  the living-room floor.         (Id.)

              In addition, agents recovered a clear plastic bag

  containing marijuana and several thousand dollars in United

  States currency from the bedroom Barret and Manning shared.

  (Id.)    Altogether, agents recovered approximately 100 kilograms

  of marijuana from the Barret Residence.           (Id.)

              The criminal complaint alleges that defendants

  Donaldson, Scarlett and Jones, together with others, fled out of

  the back door of the Barret Residence and attempted to evade

  arrest immediately after agents entered the home.              (Compl.

  ¶ 17.)    Law enforcement officers stationed around the perimeter

  of the Barret Residence apprehended each individual and placed

  him under arrest, however.         (Id.)    Agents also recovered a

  loaded Springfield .45-caliber semi-automatic pistol from the

  backyard of the Barret Residence, where Jones was apprehended.

  (Id.)

              Agents arrested Neunie and Kwaume Wilson (brother of

  Andre Wilson) later in the day near Wilson’s residence (the

                                         10
Case 1:10-cr-00809-KAM    Document 289   Filed 11/16/11   Page 11 of 97 PageID #: 902



  “Wilson Residence”), where agents had observed Neunie and Kwaume

  Wilson place a cardboard box and suitcase from the Wilson

  Residence into the trunk of Neunie’s car.           (Id. ¶ 18.)      The

  cardboard box and the suitcase contained approximately twenty-

  five pounds of a green leafy substance that field-tested

  positive for marijuana.        (Id.)   Agents then executed a search

  warrant on the Wilson Residence, where Neunie and Quinones lived

  together with Wilson and Kwaume Wilson.           (Id. ¶ 19.)     That

  search yielded numerous plastic bags containing several pounds

  of marijuana, including a one-pound bag of marijuana found in

  Neunie’s bedroom.      (Id.)    In addition, agents found marijuana

  packaging materials consistent with those found during the

  aforementioned inspections of trash taken from the Barret

  Residence.    (Id.)

             On October 8, 2010, all defendants except Mitchell

  were arraigned on a criminal complaint before Magistrate Judge

  James Orenstein.       (See ECF Nos. 4, 8, 12, 26, 29, 37, 40, 48,

  54, 58, 62, Minute Entries dated 10/8/2010.)            Mitchell was

  arrested and arraigned on September 22, 2011, approximately

  seven weeks after a grand jury returned the Superseding

  Indictment charging him and the other defendants with the

  aforementioned counts.       (See ECF No. 260, Minute Entry dated

  9/22/2011.)



                                         11
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 12 of 97 PageID #: 903



                                  DISCUSSION

       I.    Motion to Join in Co-Defendants’ Motions

               Anderson, Barret, Forrest, Jones and Scarlett move for

  leave to join in all motions made by their co-defendants to the

  extent that such motions are not inconsistent with their own.

  (See Anderson Br. at 25–26; 13 Barret Br. at 30; ECF No. 261,

  Notice of Motion as to Charles Jones, at ¶ 3; ECF No. 257,

  Notice of Motion as to Kareem Forrest (“Forrest Mot.”), at ¶ 2;

  ECF No. 253–1, Notice of Motion as to Leon Scarlett, at ¶ 4.)

  The court grants Anderson, Barret, Forrest, Jones and Scarlett’s

  motion for an order permitting them to join in each other’s

  motions.

       II.   Motions for Severance

             A. Alleged Grounds for Severance

               Each movant moves to sever his or her own trial from

  that of the other defendants.         Although the movants’ arguments

  are numerous and varied, each essentially argues that in the

  absence of a severed trial, he or she would suffer “spillover

  prejudice” because:

               (1) the other co-defendants are charged with serious

  crimes that do not involve the movant (see Anderson Br. at 16;

  Manning Br. at 4–5);



  13
    Because the Anderson Brief was not paginated, the court refers to the page
  number assigned by the Electronic Case Filing (ECF) system.

                                        12
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 13 of 97 PageID #: 904



             (2) the government seeks to prove or will prove

  multiple conspiracies at trial, even though the indictment

  alleges only a single conspiracy (see Anderson Br. at 16;

  Scarlett Br. at 7);

             (3) “bad acts” evidence admitted against co-defendants

  pursuant to Federal Rule of Evidence 404(b) would prejudice the

  movant, whose prior criminal record is non-existent or less

  extensive (see Anderson Br. at 16; Jones Br. at 5);

             (4) the movant’s defense is “antagonistic” to that of

  his or her co-defendants such that the jury’s acceptance of

  one’s defense would preclude its acceptance of the movant’s

  defense (see Anderson Br. at 16; Jones Br. at 5–6);

             (5) the size, 14 complexity and length of an unsevered

  trial would preclude jurors from properly assessing the evidence

  and distinguishing each defendant’s individual degree of

  culpability (see Anderson Br. at 22–23; Jones Br. at 6; Scarlett

  Br. at 7–10; Barret Br. at 21);

             (6) the evidence against one or a select few

  defendants appears to be far more voluminous than the evidence

  against the remaining defendants, prejudicing those against whom

  relatively little inculpatory evidence exists, particularly

  because allegedly minor participants would be “exposed to the



  14
    As of the date of this Memorandum and Order, four of the twelve defendants
  named in the Superseding Indictment have pleaded guilty.

                                        13
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 14 of 97 PageID #: 905



  great potential for guilt by association” if forced to proceed

  in a joint trial (see Anderson Br. at 20; Jones Br. at 7;

  Scarlett Br. at 9);

              (7) if the movant testified at a joint trial, his co-

  defendants would seek to impeach his testimony, thus “preventing

  him from exercising his constitutional right to testify on his

  own behalf” (see Jones Br. at 6); and

              (8) a post-arrest statement by a co-defendant would

  inculpate the movant, raising Bruton issues (see Jones Br. at 5;

  Barret Br. at 23).

              In addition, Manning specifically moves to sever her

  trial from that of Barret and Forrest, on grounds that Barret

  and Forrest face firearm possession charges, and “Mr. Barret is

  the father of Ms. Manning’s two children and may be her

  husband.”   (Manning Br. at 4–5.)          Manning also moves to sever

  her trial from that of Anderson because he gave a statement that

  allegedly ties her to Barret.         (Id. at 5.)

              The movants also contend that curative instructions

  would inadequately address the prejudice each defendant would

  face in a joint trial (see Anderson Br. at 20–21; Barret Br. at

  21; Scarlett Br. at 10).

          B. Legal Standard

              Rule 8(b) of the Federal Rules of Criminal Procedure

  (“Rule 8(b)”) provides that an indictment or information may

                                        14
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 15 of 97 PageID #: 906



  charge multiple defendants who allegedly “participated in the

  same act or transaction, or in the same series of acts or

  transactions, constituting an offense or offenses.”              Fed. R.

  Crim. P. 8(b).     The Supreme Court has recognized and reaffirmed

  “a preference in the federal system for joint trials of

  defendants who are indicted together” because they promote

  efficiency and prevent the injustice of inconsistent verdicts.

  Zafiro v. United States, 506 U.S. 534, 537 (1993).              Joint trials

  also “limit inconveniences to witnesses, avoid delays in

  bringing defendants to trial and permit the entire story to be

  presented to a single jury.”        United States v. Rucker, 32 F.

  Supp. 2d 545, 547 (E.D.N.Y. 1999).

              Nevertheless, if a court finds that a joint trial

  would prejudice a defendant or the government, the court may

  sever the defendants’ trial pursuant to Federal Rule of Criminal

  Procedure 14(a) (“Rule 14(a)”). 15         The court should sever

  defendants who are properly joined under Rule 8(b) when the

  prejudice against a defendant is so great that “there is a

  serious risk that a joint trial would compromise a specific

  trial right of one of the defendants, or prevent the jury from

  making a reliable judgment about guilt or innocence.”               United


  15
    Rule 14(a) provides: “If the joinder of offenses or defendants in an
  indictment, an information, or a consolidation for trial appears to prejudice
  a defendant or the government, the court may order separate trials of counts,
  sever the defendants’ trials, or provide any other relief that justice
  requires.” Fed. R. Crim. P. 14(a).

                                        15
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 16 of 97 PageID #: 907



  States v. Rittweger, 524 F.3d 171, 179 (2d Cir. 2008) (quoting

  Zafiro, 506 U.S. at 539).      Such a risk may be heightened where,

  for example, “many defendants are tried together in a complex

  case and they have markedly different degrees of culpability . .

  . . .”   Zafiro, 506 U.S. at 539.          Prejudice that warrants

  severance may also be present if “essential exculpatory evidence

  that would be available to a defendant tried alone were

  unavailable in a joint trial.”        Id.

             The determination of whether such prejudice exists is

  highly fact-specific and must be evaluated on a case-by-case

  basis.   Id.   Moreover, the decision of whether to sever a trial

  is committed to the sound discretion of the district court.

  United States v. Wilson, 11 F.3d 346, 353 (2d Cir. 1993).

             Notably, a defendant seeking severance under Rule 14

  bears an “‘extremely difficult burden’ of proving . . . that the

  prejudice would be so great as to deprive him of his right to a

  fair trial.”    United States v. Bellomo, 954 F. Supp. 630, 649

  (S.D.N.Y. 1997) (quoting United States v. Casamento, 887 F.2d

  1141, 1149 (2d Cir. 1989)).

           C. Application

             The court finds that the movants have failed to meet

  their heavy burden of proving that severance is warranted.

  First, the court finds unavailing the contention that the

  introduction of evidence not directly related to each movant

                                        16
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 17 of 97 PageID #: 908



  would cause so much “spillover prejudice” as to warrant

  severance (see Barret Br. at 21–23; Manning Br. at 4–5; Jones

  Br. at 5, 7; Anderson Br. at 16–20.)         Evidence adduced against

  one alleged co-conspirator is “neither spillover nor

  prejudicial” if it would be admissible at a separate trial

  against the movant as an act of a co-conspirator in furtherance

  of a conspiracy due to the nature of conspiratorial illegal

  activity.   United States v. Rosa, 11 F.3d 315, 341 (2d Cir.

  1993); see also United States v. Bari, 750 F.2d 1169, 1178 (2d

  Cir. 1984) (upholding denial of severance where significant

  amount of evidence admitted against co-conspirators would be

  admissible against the movant, “the least active but

  nevertheless a fully implicated conspirator,” as acts of co-

  conspirators in the furtherance of a conspiracy).

              For example, in Rosa, two members of a drug

  distribution conspiracy--Rosa and Rodriguez--contended that

  because they themselves were not charged with acts of violence,

  the admission of their co-defendants’ violence-based charges at

  a joint trial caused spillover prejudice.          11 F.3d at 341.       The

  Second Circuit found, however, that because “each of them was an

  integral part of the conspiracy, Rodriguez as a heroin

  processor, and Rosa as a principal wholesale purchaser of heroin

  for the Organization . . . . [e]vidence of the workings of the

  conspiracy would . . . have been admissible at the individual

                                        17
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 18 of 97 PageID #: 909



  trials of Rosa or Rodriguez, had they been tried separately.”

  Id. at 341–42.    Consequently, evidence of their organization’s

  “routine modus operandi,” which included the use of violence to

  discipline members and discourage competitors, was chargeable to

  Rosa and Rodriguez.     Id. at 342.        For the same reasons, the

  introduction of evidence not directly related to each movant but

  admissible as an act of a co-conspirator in furtherance of the

  conspiracy does not warrant severance.

              Second, severance is not necessarily required simply

  because evidence is admissible against one defendant but not

  another.   United States v. Carson, 702 F.2d 351, 367 (2d Cir.

  1983); see also United States v. Rucker, 586 F.2d 899, 902 (2d

  Cir. 1978) (“The fact that evidence may be admissible against

  one defendant but not against others does not require separate

  trials.”); United States v. Cardascia, 951 F.2d 474, 482 (2d

  Cir. 1991) (noting that “disparit[ies] in the quantity of

  evidence and of proof of culpability are inevitable in any

  multi-defendant trial, and by themselves do not warrant a

  severance”).

             The court recognizes that there are some instances in

  which severance is necessary because the volume of irrelevant

  evidence to be adduced at trial against one defendant is grossly

  disproportional to that of his or her co-defendants.             In United

  States v. DiNome, 954 F.2d 839 (2d Cir. 1992), for example, the

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Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 19 of 97 PageID #: 910



  Second Circuit found reversible error in the trial court’s

  denial of severance as to certain defendants because “an

  infinitesimal fraction” of evidence offered during a sixteen-

  month trial related to those certain defendants, who were

  therefore “swamped” by a “mass of irrelevant evidence.”              Id. at

  844–45.

             The concerns in DiNome are absent in the instant

  trial, which is estimated to last at most three weeks and

  concerns eight defendants, seven of whom were arrested on the

  same day in one of two locations and all of whom are alleged to

  be involved in the same marijuana distribution conspiracy.

  Indeed, the Second Circuit has stated that joint trials are

  often “particularly appropriate” where, as here, defendants

  allegedly participated in the same criminal conspiracy.              United

  States v. Spinelli, 352 F.3d 48, 55 (2d Cir. 2003).

             The court specifically rejects Scarlett’s claim that

  severance is warranted because pole camera and other video

  surveillance evidence showing Wilson’s repeated receipt and

  redelivery of contraband shipments to the Barret Residence

  “relates only to [Barret and Wilson] and not . . . to the group

  of people who [were] found at the Barret [R]esidence” on the

  date of Scarlett’s arrest.      (See Scarlett Br. at 9–10.)          An

  individual need not know or participate in all details of the

  conspiracy in order to be a fully implicated co-conspirator; it

                                        19
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 20 of 97 PageID #: 911



  is sufficient that the individual knew of the conspiracy’s

  general nature and extent.      United States v. Torres, 604 F.3d

  58, 65 (2d Cir. 2010).      Therefore, severance is not necessary

  simply because one form of evidence, video surveillance, may not

  directly implicate certain co-defendants.

             Third, although the movants raise antagonistic

  defenses as a ground for severance (see Jones Br. at 5–6;

  Anderson Br. at 16), the Supreme Court has noted that

  “[m]utually antagonistic defenses are not prejudicial per se.”

  Zafiro, 506 U.S. at 538; see also United States v. Carpentier,

  689 F.2d 21, 27–28 (2d Cir. 1982) (“A simple showing of some

  antagonism between defendants’ theories of defense does not

  require severance.”)     Rather, the existence of antagonistic

  defenses rises to the level of prejudice requiring severance

  only when the core of one defendant’s defense conflicts with the

  defense of another co-defendant.           Grant v. Hoke, 921 F.2d 28, 32

  (2d Cir. 1990).

             In other words, substantial prejudice results from

  antagonistic defenses “only if it can be said that ‘the jury, in

  order to believe the core of testimony offered on behalf of

  [one] defendant, must necessarily disbelieve the testimony

  offered on behalf of his co-defendant.’”          United States v.

  Villegas, 899 F.2d 1324, 1346 (2d Cir. 1990) (quoting United

  States v. Potamitis, 739 F.2d 784, 790 (2d Cir. 1984)).              Mere

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Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 21 of 97 PageID #: 912



  finger-pointing among defendants does not warrant severance.

  Id. (“The mere fact that co-defendants seek to place the blame

  on each other is not the sort of antagonism that requires a

  severance.”).

             Here, no movant has articulated a specific manner in

  which his or her defense is, at its core, at odds with the

  defense of another, thereby justifying severance.             Jones argues,

  for example, that severance is necessary because his defense--

  that “the gun recovered close to Mr. Jones at the time of his

  arrest was not his but rather Brown’s [Barret’s]” 16--is mutually

  antagonistic with that of Barret.          (Jones Br. at 5–6.)

  Therefore, Jones contends, a joint trial would “prevent[] him

  from exercising his constitutional right to testify on his own

  behalf” because his co-defendants would likely seek to discredit

  his testimony.     (Id. at 6.)    The court disagrees.        Police

  arrested four other individuals who were fleeing from the Barret

  Residence when they apprehended and arrested Jones in the

  backyard of the Barret Residence.          (Compl. ¶ 17.)     Therefore,

  the core of Jones’ defense--that the gun found near his feet did

  not belong to him--does not conflict with Barret’s defense to a



  16
    Counsel for Jones erroneously refers to Barret as “Brown” throughout Jones’
  motion papers. Although the court recognizes that the criminal complaint
  refers to defendant Christopher Barret as “Derrick Brown,” the court requests
  that all counsel use each individual’s name as it appears on the Superseding
  Indictment for consistency and to preserve the integrity of the record and
  prevent confusion.

                                        21
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 22 of 97 PageID #: 913



  degree that warrants severance.        The jury could believe, for

  instance, that neither defendant used or possessed the gun, and

  find instead that the gun was used or possessed by one of the

  many other individuals who were in or around the Barret

  Residence at the time of Jones’ arrest.          Accordingly, the court

  remains unpersuaded that severance is warranted on this ground.

             Fourth, the court disagrees with the movants’

  contention that this trial--which involves a three-count

  indictment and eight defendants--should be severed due to its

  size and complexity.     (See Barret Br. at 21; Scarlett Br. at 7–

  10; Jones Br. at 6; Anderson Br. at 22–23.)            As an initial

  matter, this case does not fall within the ambit of the Second

  Circuit’s warning against “mega-trials” in Casamento, 887 F.2d

  at 1151, as Scarlett suggests.        In Casamento, the Second Circuit

  instituted limits on trials expected to exceed four months in

  length and involving more than ten defendants.            Id. at 1152.     In

  contrast, the instant trial is expected to last no longer than

  three weeks.    Therefore, Casamento is inapposite on this point,

  as the instant case falls far short of what the Second Circuit

  has considered a “mega-trial.”

             Furthermore, when the issues are straightforward,

  severance is not required simply because there are numerous

  defendants.    See DiNome, 954 F.2d at 842 (finding no error in

  denial of severance as to most of the defendants because

                                        22
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 23 of 97 PageID #: 914



  “[t]here is no support in caselaw or in logic for the

  proposition that a lengthy trial, a large number and variety of

  charges, and numerous defendants violate due process without a

  showing that the issues were actually beyond the jury’s

  competence”).    In United States v. Gallo, 668 F. Supp. 736

  (E.D.N.Y. 1987), another court in this district found that

  severance was appropriate where a joint trial involved fourteen

  defendants and twenty-two separate counts, some of which

  required the application of “highly technical and counter-

  intuitive [Racketeer Influenced and Corrupt Organizations Act]

  conspiracy elements to a great range of disparate predicate

  conspiracies and events.”      Id. at 750.

             In contrast, despite acknowledging that mega-trials

  should be avoided, the Second Circuit did not deem severance

  necessary in Casamento, a case in which twenty-one defendants

  charged in a sixteen-count indictment were tried in a seventeen-

  month-long trial and the parties introduced thousands of

  exhibits and testimony from more than 275 witnesses.             887 F.2d

  at 1149.   There, notwithstanding the extraordinary magnitude of

  the case, the Second Circuit held that the trial’s length and

  complexity did not substantially prejudice defendants because

  “the nature of the evidence and the legal concepts involved in

  the case were not extraordinarily difficult to comprehend,” as

  they might be in cases involving “abstruse economic theories” or

                                        23
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 24 of 97 PageID #: 915



  “technical statistical evidence and formulae.”            Id.    Rather, as

  here, the jurors in Casamento were called upon only to “grasp

  the legal significance of shipments of narcotics, sales of

  narcotics, and transfers of money.”        Id.

             Finally, the court respectfully rejects the movants’

  argument that curative instructions would inadequately address

  any legitimate prejudice concerns (see Anderson Br. at 20–21).

  The Second Circuit has found that, in lieu of severance, a trial

  court may elect in its discretion to instruct jurors to consider

  each defendant individually to diminish the prejudice that may

  result in a joint trial in which the volume or weight of

  evidence is greater as to some defendants than others.

  Spinelli, 352 F.3d at 55.      The Second Circuit has also held that

  a trial court adequately remedied more general spillover

  prejudice concerns by instructing the jury that “[t]here’s no

  group culpability here” and the jury “must consider the case

  against each defendant on each charge separately.”              United

  States v. Miller, 116 F.3d 641, 679 (2d Cir. 1997).

             The Second Circuit has likewise upheld the use of

  curative instructions to address prejudice that may result when

  one defendant lacks a criminal history while his or her co-

  defendants have extensive criminal records.            See Spinelli, 352

  F.3d at 55 n.3 (finding sufficient judge’s instructions that

  “mere association with one or more members of the conspiracy

                                        24
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 25 of 97 PageID #: 916



  does not automatically make a defendant a member” and “[a]

  person may know or be friendly with a criminal without being a

  criminal himself”).

             Nor is the court persuaded by the movants’ remaining

  arguments.    Scarlett, for example, claims that although the

  indictment alleges a single conspiracy, the government will in

  fact prove multiple conspiracies.          (Scarlett Br. at 7.)      “A

  claim that the proof will show multiple conspiracies is not

  grounds for severance under Rule 8(b),” however, because “[t]he

  question of whether one or more conspiracies existed is one to

  be resolved at trial by a properly instructed jury.”             United

  States v. Vargas, No. CR–89–0564, 1991 WL 10930, at *2 (E.D.N.Y.

  Jan. 25, 1991).

             Manning argues that her trial should be severed from

  those of Barret and Forrest because she is susceptible to

  “spillover prejudice” because “Barret is apparently the father

  of Ms. Manning’s two children and may be her husband,” and she

  previously lived with Forrest.        (Manning Br. at 2, 4–5; Manning

  Reply at 5–6, 8.)      It is “not per se error to join husband and

  wife as co-defendants in a conspiracy case.”           United States v.

  Moten, 564 F.2d 620, 630 (2d Cir. 1977) (citing United States v.

  Figueroa-Paz, 468 F.2d 1055, 1057 (9th Cir. 1972)).             In Moten,

  the Second Circuit found that the trial court did not err in

  denying severance for spouses facing narcotics conspiracy

                                        25
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 26 of 97 PageID #: 917



  charges because they failed to show that unfair prejudice would

  result.   Id.   For the same reason, the court denies Manning’s

  motion here because she has presented nothing more than a

  speculative argument that a joint trial with Forrest or Barret

  would result in unfair prejudice. 17        See United States v. Sasso,

  78 F.R.D. 292, 293 (S.D.N.Y. 1977) (denying wife’s motion for

  severed trial from that of her husband because wife’s claims of

  “[spillover] prejudice [were] at best speculative”).

              Jones argues that he is entitled to a severed trial

  because a post-arrest statement made by Anderson, his co-

  defendant, raises Bruton issues 18 because it “inculpates Mr.

  Jones in an illegal activity.” 19       (Jones Br. at 5, 7.)        Instead

  of severing a trial due to issues arising under Bruton, however,

  the court may redact the co-defendant’s statement, substituting

  neutral pronouns or the phrase “another person” in place of the

  allegedly implicated defendant’s name.          United States v. Jass,



  17
     Manning also argues without offering any legal basis that her trial should
  be severed from that of Anderson because “Mr. Anderson apparently gave a
  statement which arguably ties Ms. Manning to Mr. Barrett [sic].” (Manning
  Br. at 5.) The court rejects this claim as meritless.
  18
     In Bruton v. United States, 391 U.S. 123 (1968), the Supreme Court held
  that reversible, prejudicial error resulted from the admission of a co-
  defendant’s confession that implicated defendant at a joint trial
  notwithstanding the trial court’s issuance of clear instructions that the
  jury should use the confession only against the confessor, and not the
  incidentally implicated defendant. Id. at 137.
  19
     Neither Jones nor the government quote Anderson’s full statement for the
  court’s review, but the government represents that Anderson “stated, in sum
  and substance, that he was at the Barret Residence on October 7, 2010 because
  he was smoking marijuana and visiting his friends ‘Speedy’ (defendant Jones)
  and ‘Chris’ (defendant Barret), whom he had known for approximately one
  year.” (Gov’t Opp’n at 15.)

                                        26
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 27 of 97 PageID #: 918



  569 F.3d 47, 53 (2d Cir. 2009); United States v. Tutino, 883

  F.2d 1125, 1135 (2d Cir. 1989) (approving substitution of

  neutral pronouns and phrases for names of co-defendants in

  confession of non-testifying defendant).

             Thus, the government proposes the following redacted

  version of Anderson’s statement:           “Anderson was at 133-37 147th

  Street in Jamaica, New York on October 7, 2010 because he was

  smoking marijuana and visiting some friends whom he had known

  for approximately one year.”       (Gov’t Opp’n at 15–16.)         Assuming

  without deciding that Anderson’s post-arrest statement does

  suggest that Jones was smoking marijuana, as Jones contends (see

  Jones Br. at 5), the court finds that the substitution of

  neutral phrases in the government’s proposed redaction

  adequately mitigates Jones’ Bruton concern.            The court notes,

  however, that if Anderson gave his original statement in first-

  person language (for example, “I was at 133-37 147th Street . .

  .”), any redacted version of Anderson’s statement should retain

  the first-person phrasing. 20

             For the foregoing reasons, the court denies the

  movants’ motion for severance.




  20
    Barret also raises a Bruton issue in his moving papers, although he offers
  no facts or authority in support of his contention. (See Barret Br. at 21).
  Accordingly, the court has no basis upon which to assess the legitimacy or
  merit of Barret’s purported assertion.

                                        27
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 28 of 97 PageID #: 919



     III. Motion for Bill of Particulars

              Barret, Anderson, Jones, Scarlett and Forrest move for

  a bill of particulars on grounds that the government’s

  disclosures to date do not sufficiently particularize the

  charges they face and are insufficient to prevent undue

  surprise.   (Barret Br. at 12–16; Scarlett Br. at 11–13; Forrest

  Br. at 2–5; Jones Br. at 2–3, 8.)          Each moves for a bill of

  particulars, alleging that the indictment is overly vague and

  fails to “provide the essential elements and facts needed to

  inform defendant of the charges, let alone the particulars of

  any conspiracy involving defendant and/or firearms violations”;

  that discovery and other documents provided by the government do

  not sufficiently enable the moving defendant to investigate the

  charges and prepare for his respective defense; and that his

  right to a fair trial will be violated in the absence of the

  issuance of a bill of particulars, particularly because the

  alleged conspiracy spanned a four-year period.            (Barret Br. at

  12–16; Forrest Br. 2–5; Jones Br. at 2–3, 8; Scarlett Br. at 5,

  11–13.)   In opposition, the government argues that the

  Superseding Indictment, complaint, and extensive discovery

  provided to date provide sufficient information regarding each

  charge.   (Gov’t Opp’n at 20-26.)




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Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 29 of 97 PageID #: 920



          A. Legal Standard

             A defendant may seek a bill of particulars pursuant to

  Federal Rule of Criminal Procedure 7(f) in order to

  (1) “identify with sufficient particularity the nature of the

  charge pending against him, thereby enabling defendant to

  prepare for trial”; (2) “to prevent surprise”; and (3) “to

  interpose a plea of double jeopardy should he be prosecuted a

  second time for the same offense.”          United States v. Bortnovsky,

  820 F.2d 572, 574 (2d Cir. 1987).          The district court has

  discretion to decide whether to grant a bill of particulars.

  Bortnovsky, 820 F.2d at 574 (citing United States v. Panza, 750

  F.2d 1141, 1148 (2d Cir. 1984)).

             Notably, “[a] bill of particulars is required ‘only

  where the charges of the indictment are so general that they do

  not advise the defendant of the specific acts of which he is

  accused.’”    United States v. Walsh, 194 F.3d 37, 47 (2d Cir.

  1999) (quoting United States v. Torres, 901 F.2d 205, 234 (2d

  Cir. 1990), overruled on other grounds as recognized by United

  States v. Marcus, 628 F.3d 36 (2d Cir. 2010)).            Therefore, the

  court may deny a motion for a bill of particulars “if the

  information sought by defendant is provided in the indictment or

  in some acceptable alternate form.”          Bortnovsky, 820 F.2d at

  574; see also United States v. Rigas, 258 F. Supp. 2d 299, 305

  (S.D.N.Y. 2003) (no bill of particulars is warranted where “the

                                        29
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 30 of 97 PageID #: 921



  Indictment, discovery, and other information provided by the

  government adequately notify Defendants of the charges against

  them”); United States v. Barnes, 158 F.3d 662, 665–66 (2d Cir.

  1998) (finding district court did not abuse its discretion by

  denying a bill of particulars to defendants where the government

  had already provided “extensive additional information”

  regarding their alleged involvement in the charged offenses “so

  as to enable them to understand the nature of the charges

  against them, to prepare a defense, and avoid unfair surprise at

  trial”).

             Moreover, numerous courts in this Circuit have

  cautioned that “[a]cquisition of evidentiary detail is not the

  function of the bill of particulars.”         Torres, 901 F.2d at 234;

  see also United States v. Larracuente, 740 F. Supp. 160, 163

  (E.D.N.Y. 1990) (“A bill of particulars is not to be viewed as a

  discovery device to seek and compel disclosure of the

  Government’s evidence prior to trial.”); United States v. Feola,

  651 F. Supp. 1068, 1123 (S.D.N.Y. 1987), aff’d without opp., 875

  F.2d 857 (2d Cir. 1989) (noting that “courts have refused to

  treat a bill of particulars as a general investigative tool for

  the defense, or as a device to compel disclosure of the

  Government’s evidence or its legal theory prior to trial”).

             Accordingly, “[t]he applicable standard for whether a

  bill of particulars should issue is not whether the information

                                        30
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 31 of 97 PageID #: 922



  sought would be helpful to the defense, but whether it is

  necessary.”    United States v. Batista, No. 06-CR-265, 2009 WL

  910357, at *9 (E.D.N.Y. Mar. 31, 2009); see also Torres, 901

  F.2d at 234 (“The function of a bill of particulars is to

  provide [the] defendant with information about the details of

  the charge against him if this is necessary to the preparation

  of his defense, and to avoid prejudicial surprise at the

  trial.”) (emphasis added) (internal quotations omitted); United

  States v. Triana-Mateus, No. 98 CR. 958, 2002 WL 562649, at *5

  (S.D.N.Y. Apr. 15, 2002) (“In deciding a motion for a bill of

  particulars, ‘[t]he important question is whether the

  information sought is necessary, not whether it is helpful.’”)

  (quoting United States v. Facciolo, 753 F. Supp. 449, 451

  (S.D.N.Y. 1990)).      In determining whether a defendant has shown

  such necessity, the trial court “must examine the totality of

  the information available to the defendant, including the

  indictment and general pre-trial discovery.”           United States v.

  Solomonyan, 452 F. Supp. 2d 334, 349 (S.D.N.Y. 2006) (internal

  citation omitted).

          B. Application

             Anderson, Barret, Forrest, Jones and Scarlett each

  face charges of conspiracy to distribute marijuana, distribution

  of marijuana, and possession of a firearm in relation to drug



                                        31
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11    Page 32 of 97 PageID #: 923



  trafficking.    (S-2 ¶¶ 1–3.)    Each movant moves for a litany of

  detailed requests, all of which the court has considered.

             Forrest, for example, claims that in order to defend

  himself, he needs answers to specific questions, including

  information regarding his purported acts of violence, gang

  affiliation and alleged role as a manager in the conspiracy.

  (Forrest Br. at 4.)     Barret demands, inter alia, information

  regarding the “exact date(s), time(s) and place(s) (including

  address)” and the manner in which he joined and left the alleged

  conspiracy; “any and all conduct on the part of Mr. Barrett

  [sic] alleged to have been in furtherance of the conspiracy”;

  “[t]he precise conduct of Mr. Barrett [sic] alleged to establish

  the element of agreement, combination and conspiracy”; and “any

  other overt acts of the defendant intended to be proven at

  trial.”   (Barret Br. at 15–16.)       Scarlett seeks a bill of

  particulars that details the roles of each defendant and the

  timeframe and nature of each defendant’s purported acts, a

  description of the weapon he allegedly possessed and the

  circumstances surrounding that possession.             (Scarlett Br. at 11–

  13.)   Jones’ requests are similar to those of the other movants.

             Having reviewed the Superseding Indictment, the

  criminal complaint filed on October 8, 2010, the affidavits in

  support of the search warrants, and the letters that accompanied

  the government’s discovery disclosures to date (see ECF Nos.

                                        32
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 33 of 97 PageID #: 924



  219, 234–37, 255, and 274), the court rejects the movants’

  arguments and denies their motions for a bill of particulars.

  In so ruling, the court is mindful that it “cannot compel the

  government to disclose, through a bill of particulars, ‘the

  manner in which it will attempt to prove the charges, the

  precise manner in which a defendant committed the crime charged,

  or to give a preview of its evidence and legal theories, lest

  the defendant tailor his testimony to explain away the

  [g]overnment’s case.’”      United States v. Batista, No. 06-CR-265,

  2009 WL 910357, at *9 (E.D.N.Y. Mar. 31, 2009) (quoting United

  States v. Jimenez, 824 F. Supp. 351, 363 (S.D.N.Y. 1993));

  United States v. Conley, No. 00 CR 0816, 2002 WL 252766, at *4

  (S.D.N.Y. Feb. 21, 2002) (“The Government is not required to

  provide information that would, in effect, give the Defendant a

  preview of the Government’s case before trial.”)

             Moreover, the court finds that “[w]hat defendant[s]

  seek[] is in the nature of the ‘wheres, whens, and with whoms’

  that Courts have held to be beyond the scope of a bill of

  particulars.”    United States v. Mitlof, 165 F. Supp. 2d 558, 569

  (S.D.N.Y. 2001) (citation omitted); see also Torres, 901 F.2d at

  233–34 (affirming denial of motion for bill of particulars where

  defendant sought date he joined conspiracy, identity of co-

  conspirators, and precise dates and locations of his overt

  acts); United States v. Matos-Peralta, 691 F. Supp. 780, 791

                                        33
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 34 of 97 PageID #: 925



  (S.D.N.Y. 1988) (finding courts “consistently reject[ ] demands

  for particulars as to the formation of a conspiracy or the entry

  into the conspiracy of a particular defendant” because “the

  government is not required to prove exactly when or how a

  conspiracy was formed or when or how a particular defendant

  joined the scheme”).

             Here, the complaint specifies the names of many of the

  movants’ alleged co-conspirators; includes the dates of the

  alleged events and the places where they occurred; and the means

  and methods by which the conspiracy was allegedly carried out.

  Moreover, the government’s discovery disclosures, which include

  video surveillance recordings at the Barret and Wilson

  Residences and numerous articles of physical evidence, likewise

  satisfy the court that each defendant--especially Barret--

  possesses sufficient information about the details of the

  charges he faces.

             The court notes in particular that the government’s

  December 15, 2010 memorandum provides ample detail regarding the

  charges Forrest faces.      (See ECF No. 133, Detention Memorandum

  as to Kareem Forrest (“Forrest Det. Mem.”).)           In addition to

  providing specific information about the alleged conspiracy’s

  routine operations, the letter includes the following statement

  about Forrest’s alleged role in the conspiracy:



                                        34
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 35 of 97 PageID #: 926



               The defendant has been captured on
               surveillance video on numerous occasions
               engaging in narcotics-related activities,
               including carrying boxes containing
               marijuana into the Barret Residence on
               several occasions, as well as acting as a
               lookout when deliveries of boxes were
               taking place. Moreover, as discussed,
               prior to his arrest, the defendant
               regularly transported and had ready access
               to illegal firearms and narcotics.

  (Forrest Det. Mem. at 6.)      The court finds that this degree of

  particularity more than suffices to provide Forrest adequate

  notice of the charges he faces.

             Although the complaint, Superseding Indictment and

  discovery may not include the same degree of information as to

  Anderson, Jones and Scarlett, the court finds that the

  government’s pre-trial discovery disclosures and other documents

  in the record suffice.      In Triana-Mateus, 2002 WL 562649, a case

  in which a defendant was charged with participation in a large-

  scale money-laundering conspiracy that spanned four-and-a-half

  years, the district court denied defendant’s motion for a bill

  of particulars because the indictment “clearly specifie[d] the

  names of [defendant’s] co-conspirators, the dates and places

  where and when the alleged events occurred, and the means and

  methods by which the conspiracy was carried out.”             Id. at *5.

  Moreover, the court found that the government had provided

  defendant with “ample discovery regarding the allegations made

  in the Indictment, including documents, tape recordings, his

                                        35
Case 1:10-cr-00809-KAM    Document 289   Filed 11/16/11   Page 36 of 97 PageID #: 927



  post-arrest statements, a police report and a surveillance video

  of defendant.”    Id.

              Similarly, in United States v. Cephas, 937 F.2d 816

  (2d Cir. 1991), the Second Circuit found that a district court

  did not abuse its discretion by denying a motion for a bill of

  particulars for a defendant who faced charges of narcotics

  distribution conspiracy and numerous firearms violations.                 Id.

  at 823.    There, the Circuit Court found that “[a]lthough the

  government did not list the specific activities which showed how

  he furthered the criminal enterprise or the conspiracy, such

  specific acts need not be alleged with respect to every named

  defendant, if the indictment is otherwise sufficient and names

  the other persons involved in the criminal activity.”               Id.

  Here, the court finds that each movant has been “sufficiently

  advised as to the charges against him as well as the elements of

  the offenses.”    Id.    Accordingly, their motions for a bill of

  particulars are denied.

     IV.    Motion to Compel Identification of Government’s
            Informants and Any Unindicted Co-Conspirators

              Barret moves for an order compelling the immediate

  disclosure of the name, address, Social Security number,

  criminal history and current whereabouts of any confidential




                                         36
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 37 of 97 PageID #: 928



  informants, cooperating co-defendants 21 and unindicted co-

  conspirators upon whom the government has relied.              (Barret Br.

  at 27–28.) 22   The government counters that the Second Circuit and

  district courts in this Circuit have routinely denied such

  requests, and that the movants are merely “attempting to have

  the government preview its evidence and particularize its theory

  of the defendants’ guilt.”       (Gov’t Opp’n at 26.)

           A. Confidential Informants

                    1. Legal Standard

              “The government generally enjoys a ‘privilege to

  withhold from disclosure the identity of persons who furnish

  information of violations of law to officers charged with

  enforcement of that law.’”       United States v. Jackson, 345 F.3d

  59, 69 (2d Cir. 2003) (quoting Roviaro v. United States, 353

  U.S. 53, 59 (1957)).      The Second Circuit has recognized that the

  government’s “interest in protecting the anonymity of informants

  who furnish information regarding violations of law is strong”

  because “withholding an informant’s identity improves the

  chances that such a person will continue providing information

  and encourages other potential informants to aid the

  government.”    United States v. Fields, 113 F.3d 313, 324 (2d



  21
     The court discusses Barret’s motion for disclosure of the identities of
  cooperating co-defendants, if any, in Section XIV.
  22
     Barret also requests this information as part of his motion for a bill of
  particulars. (See Barret Br. at 14–15.)

                                        37
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 38 of 97 PageID #: 929



  Cir. 1997) (citing Socialist Workers Party v. Attorney General,

  565 F.2d 19, 22 (2d Cir. 1977)).

             Nevertheless, “‘[w]here the disclosure of an

  informer’s identity, or of the contents of his communication, is

  relevant and helpful to the defense of an accused, or is

  essential to a fair determination of a cause,’ the ‘fundamental

  requirements of fairness’ require that ‘the privilege must give

  way.’”    Jackson, 345 F.3d at 69–70 (quoting Roviaro, 353 U.S. at

  60–61).   Therefore, a district court must “‘balanc[e] the public

  interest in protecting the flow of information against the

  individual’s right to prepare his defense,’ based on ‘the

  particular circumstances of each case, taking into consideration

  the crime charged, the possible defenses, the possible

  significance of the informer’s testimony, and other relevant

  factors.’”    Id. at 70 (quoting Roviaro, 353 U.S. at 60–61).             “If

  this balancing favors the defendant, then he is entitled to

  learn the identity of the government’s informant.”             Id.

             “The defendant bears the burden of showing the need

  for disclosure of an informant’s identity.”            Fields, 113 F.3d at

  324 (citing United States v. Manley, 632 F.2d 978, 985 (2d Cir.

  1980)).   To do so, he must establish that he will be deprived of

  his right to a fair trial absent such disclosure.             Id. (citing

  Roviaro, 353 U.S. at 60–61).      Although the decision to disclose

  an informant’s identity is within the sound discretion of a

                                        38
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 39 of 97 PageID #: 930



  district court, “[s]peculation that disclosure of the

  informant’s identity will be of assistance is not sufficient to

  meet the defendant’s burden.”         Id.   The Second Circuit has found

  that “disclosure of the identity or address of a confidential

  informant is not required unless the informant’s testimony is

  shown to be material to the defense.”          United States v. Saa, 859

  F.2d 1067, 1073 (2d Cir. 1988).

             Defendants in United States v. Ordaz-Gallardo, 520 F.

  Supp. 2d 516 (S.D.N.Y. 2007), moved for pre-trial disclosure of

  the identity of a government informant, arguing that “it is

  apparent from review of discovery provided to date that the

  Government will rely on the testimony of Government informants

  in prosecuting this case” and “[the informants’] testimony will

  clearly be relevant to the guilt or innocence” of the

  defendants.    Id. at 520–21.     In denying defendants’ motion, the

  court noted that “[s]uch broad allegations . . . are

  insufficient to meet Defendants’ burden” and that “at best,

  these statements constitute a level of speculation that, absent

  more, does not warrant disclosure of the identity of

  informants.”    Id. at 521.

                   2. Application

             Here, Barret states that “[o]n information and belief,

  key portions of the Government’s case against the defendant

  consist of testimony of confidential informants or cooperating

                                        39
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 40 of 97 PageID #: 931



  co-defendants.”     (Barret Br. at 27.)      He also contends that he

  seeks information about the informants “to permit the defense an

  opportunity to interview them in preparation for trial.”              (Id.

  at 28.)    Barret has made a lesser showing than that found to be

  insufficient in Ordaz-Gallardo, 520 F. Supp. 2d at 520–21; see

  also United States v. Ojeikere, 299 F. Supp. 2d 254, 262

  (S.D.N.Y. 2004) (denying defendant’s request for production of

  confidential informant’s identity because he failed to show why

  such information would add materially to his defense and he

  “simply speculate[d] about what further information the

  informant might be able to provide”).         Accordingly, Barret has

  failed to meet his burden and the court denies his motion to

  compel the disclosure of information regarding any government

  informants.

            B. Unindicted Co-Conspirators

                    1. Legal Standard

              As this court has elsewhere noted, “t[h]ere is no

  clear rule in the Second Circuit as to when a bill of

  particulars for unindicted co-conspirators should be granted.”

  United States v. Kahale, 789 F. Supp. 2d 359, 372 (E.D.N.Y.

  2009); see United States v. Nachamie, 91 F. Supp. 2d 565, 572

  (S.D.N.Y. 2000) (noting that the Second Circuit has affirmed

  both denials and grants of requests for the identities of

  unindicted co-conspirators).      Accordingly, “[t]he determination

                                        40
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 41 of 97 PageID #: 932



  of whether to compel the Government to provide a defendant with

  the identities of unindicted co-conspirators, whether or not

  they will be called as witnesses, is well within the discretion

  of the district court.”       United States v. Shteyman, No. 10 CR

  347, 2011 WL 2006291, at *8 (E.D.N.Y. May 23, 2011) (citing

  Nachamie, 91 F. Supp. 2d at 572).

             “The question is whether the names of unindicted co-

  conspirators are necessary to prepare a defense and avoid

  surprise.”    Solomonyan, 451 F. Supp. 2d at 641.          Courts in this

  Circuit have considered the following six factors in determining

  whether to grant requests for the identities of unindicted co-

  conspirators:

             (1) the number of co-conspirators;
             (2) the duration and breadth of the alleged
                 conspiracy;
             (3) whether the Government has otherwise
                 provided adequate notice of the particulars;
             (4) the volume of pre-trial disclosures;
             (5) the potential danger to co-conspirators; and
             (6) the potential harm to the Government’s
                 investigation.

  Kahale, 789 F. Supp. 2d at 372.

             Where the number of co-conspirators is potentially

  large, the first factor weighs in favor of granting the

  disclosure request.     Id.    If the alleged conspiracy took place

  over a long period of time, or if its scope was expansive,

  whether in terms of complexity or geographic reach, the second

  factor also weighs in favor of granting the request.             See id.

                                        41
Case 1:10-cr-00809-KAM    Document 289   Filed 11/16/11   Page 42 of 97 PageID #: 933



  (noting that the five-year duration of alleged conspiracy that

  “spanned from the New York metropolitan area to Nevada and

  potentially to unknown international locations” weighed in favor

  of compelling disclosure of unindicted co-conspirators); see

  also Nachamie, 91 F. Supp. 2d at 573 (granting request for

  identification of known unindicted co-conspirators in case

  involving a “large number of co-conspirators (eight defendants

  and an unknown number of unindicted co-conspirators)” and

  lasting a “significant period of time (more than three years)”).

             The third factor, whether the government has otherwise

  provided adequate notice of the particulars, weighs in favor of

  disclosure when “defendants do not have adequate information to

  prepare for trial and avoid unfair surprise.”             Kahale, 789 F.

  Supp. 2d at 372.       The fourth factor considers both whether the

  government has “provided significant detail to the defendants”

  and whether the government has “unfairly overwhelmed

  [defendants] with mountains of unorganized discovery.”               Id.; see

  also Nachamie, 91 F. Supp. 2d at 573 (finding that because “the

  Government has produced a substantial number of documents--more

  than 200,000 pages--but has failed to give defendants adequate

  notice of the particular charges against them,” disclosure would

  allow defendants to prepare for trial).           Where the government

  asserts that disclosure would “jeopardize [the] safety [of the

  unindicted co-conspirators], create risk of witness tampering,

                                         42
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 43 of 97 PageID #: 934



  or compromise an ongoing government investigation,” the fifth

  and sixth factors weigh against disclosure.            Kahale, 789 F.

  Supp. 2d at 373; cf. United States v. Chalmers, 410 F. Supp. 2d

  278, 286 (S.D.N.Y. 2006) (rejecting request for identification

  of unindicted co-conspirators where there was “significant”

  concern for ongoing government investigation).

                   2. Application

             Here, the first and second factors weigh in favor of

  disclosure because there are twelve defendants charged in the

  Superseding Indictment, the alleged conspiracy spanned a period

  of approximately four years, and the conspiracy involved

  activities that occurred in New York, California and Arizona

  (see S-2 ¶¶ 1–3; Compl. ¶ 2).

             The third and fourth factors weigh against disclosure

  because the court finds that, as discussed supra in Section III,

  the government has already adequately apprised each defendant of

  the charges brought against him or her so as to avoid undue

  surprise at trial, and the government has provided ample

  discovery but has not overwhelmed defendants with overly

  voluminous discovery.      See United States v. Rodriguez, No. 99-

  CR-367, 1999 WL 820558, at *2 (S.D.N.Y. Oct. 13, 1999) (denying

  request for identity of known co-conspirators because “the

  indictment, particularly when coupled with the discovery already



                                        43
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11    Page 44 of 97 PageID #: 935



  provided to the defendant, allows [him] both to prepare his

  defense and to avoid prejudicial surprise at trial”).

             Notably, although “knowing the identity of unindicted

  co-conspirators might be useful to the defense, ‘the question is

  not whether the information would be useful to the defense, but

  rather whether it is necessary.’”          Solomonyan, 451 F. Supp. 2d

  at 642 (quoting Chalmers, 410 F. Supp. 2d at 286–87).               In

  Solomonyan, the district court denied the request for identities

  of unindicted co-conspirators in a case involving twenty

  defendants, finding that despite the large number of identified

  co-conspirators, the arms trafficking conspiracies alleged were

  not in themselves complex, so defendants did not need, “as

  compared, say, to defendants in an intricate fraud conspiracy,

  to identify unnamed co-conspirators in order to piece together

  the nature of the charges against them.”          Id.

             Moreover, although the government has not made any

  assertion that disclosure of the identities of unindicted co-

  conspirators would jeopardize their safety, create any risk of

  witness tampering, or otherwise compromise an ongoing government

  investigation, safety is a concern in this case because the

  alleged conspiracy involves narcotics trafficking and the

  criminal complaint alleges regular use of firearms in connection

  with the conspiracy.     See Nachamie, 91 F. Supp. 2d at 573

  (noting no concern that disclosing identities of unindicted co-

                                        44
Case 1:10-cr-00809-KAM    Document 289   Filed 11/16/11   Page 45 of 97 PageID #: 936



  conspirators would endanger those individuals where the crimes

  charged involved fraud, “not narcotics trafficking or murder”).

  Based on its consideration of the foregoing factors and

  authorities, the court denies Barret’s motion for an order

  compelling the immediate disclosure of information related to

  unindicted co-conspirators.

     V.   Motion to Dismiss Indictment Alleged to be Based on
          Multiple Conspiracies

             Anderson moves for dismissal of the indictment--which

  alleges his participation in a single drug distribution

  conspiracy--on grounds that the evidence supports a finding of

  multiple conspiracies.       (See Anderson Br. at 14-15.)         Anderson

  denies having any common agreement, goal or venture with his co-

  defendants and argues that he was a “buyer to sell in his own

  conspiracy.”    (Id.)    In opposition, the government argues that

  whether it has proven a single or multiple conspiracy is an

  issue for the jury to decide, not grounds for the indictment’s

  dismissal.    (Gov’t Opp’n at 31–33.)

          A. Legal Standard

             Federal Rule of Criminal Procedure 8(a) requires the

  government to charge “separate counts” in an indictment for each

  distinct offense alleged.       Fed. R. Crim. P. 8(a).         Accordingly,

  “[a]n indictment is impermissibly duplicitous where: (1) it

  combines two or more distinct crimes into one count in


                                         45
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11    Page 46 of 97 PageID #: 937



  contravention of Fed. R. Crim. P. 8(a)’s requirement that there

  be ‘a separate count for each offense,’ and (2) the defendant is

  prejudiced thereby.”     United States v. Sturdivant, 244 F.3d 71,

  75 (2d Cir. 2001) (citing United States v. Murray, 618 F.2d 892,

  896 (2d Cir. 1980)).

              Application of this doctrine to conspiracy indictments

  “presents ‘unique issues, for a single agreement may encompass

  multiple illegal objects.’”      United States v. Rajaratnam, 736 F.

  Supp. 2d 683, 688 (S.D.N.Y. 2010) (quoting United States v.

  Murray, 618 F.2d 892, 896 (2d Cir. 1980)).             The government may

  prove the existence of a single conspiracy among individuals by

  showing their agreement to participate in a “collective venture

  directed toward a common goal.”        United States v. Sureff, 15

  F.3d 225, 229-30 (2d Cir. 1994) (quoting United States v.

  Maldonado-Rivera, 922 F.2d 934, 963 (2d Cir. 1990)).              Notably,

  however, “members of the conspiracy do not have to conspire

  directly with every other member of it, or be aware of all acts

  committed in furtherance of the conspiracy, or even know every

  other member,” nor is a single conspiracy “transposed into a

  multiple one simply by lapse of time, change in membership, or a

  shifting emphasis in its locale of operations.”             United States

  v. Vanwort, 887 F.2d 375, 383 (2d Cir. 1989) (internal citations

  omitted).



                                        46
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 47 of 97 PageID #: 938



             Moreover, specifically in the context of narcotics

  conspiracies, the Second Circuit has found that “even where

  there are multiple groups within an alleged conspiracy, a single

  conspiracy exists where the groups share a common goal and

  depend upon and assist each other, and we can reasonably infer

  that ‘each actor was aware of his part in a larger organization

  where others performed similar roles.’”          United States v.

  Berger, 224 F.3d 107, 115 (quoting United States v. Bertolotti,

  529 F.2d 149, 154 (2d Cir. 1975)).         Therefore, “a single

  conspiracy is not transformed into multiple conspiracies merely

  by virtue of the fact that it may involve two or more phases or

  spheres of operation, so long as there is sufficient proof of

  mutual dependence and assistance.”         Id. at 114-15 (quoting

  Maldonado-Rivera, 922 F.2d at 963).

             Finally, “[i]f the Indictment on its face sufficiently

  alleges a single conspiracy, the question of whether a single

  conspiracy or multiple conspiracies exists is a question of fact

  for the jury.”    United States v. Ohle, 678 F. Supp. 2d 215, 222

  (S.D.N.Y. 2010) (citing Vanwort, 887 F.2d at 383); see Berger,

  224 F.3d at 114 (“Whether the government’s proof shows a single

  conspiracy or multiple conspiracies is a question of fact for a

  properly instructed jury.”) (internal quotation marks omitted);

  see also Sureff, 15 F.3d at 229 (same).



                                        47
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 48 of 97 PageID #: 939



          B. Application

             Because the court finds that the indictment in the

  instant case, on its face, sufficiently alleges a single

  conspiracy, the court denies Anderson’s motion to dismiss the

  indictment on grounds that it impermissibly combines multiple

  crimes in one count of conspiracy.         See Rajaratnam, 736 F. Supp.

  2d at 688–89 (finding the fact that the indictment “facially

  alleges a single conspiracy is enough to warrant denial of

  [defendant’s] motion”); United States v. Beech-Nut Nutrition

  Corp., 659 F. Supp. 1487, 1491-92 (E.D.N.Y. 1987) (denying

  motion to dismiss indictment count on grounds that it alleged

  multiple conspiracies, finding that the indictment on its face

  alleged a “single conspiracy with multiple objects,” and holding

  that “[w]hether the evidence adduced at trial supports the

  single conspiracy alleged in Count One is a question which must

  be resolved at trial”) (citing United States v. Alessi, 638 F.2d

  466, 472 (2d Cir. 1980)); United States v. Szur, No. 97-CR-108,

  1998 WL 132942, at *11 (S.D.N.Y. Mar. 20, 1998) (“[S]ince the

  Indictment on its face sufficiently alleges a single conspiracy,

  the question of whether a single or multiple conspiracies exist

  is a question for the jury and is not a basis to dismiss the

  conspiracy count.”)




                                        48
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 49 of 97 PageID #: 940



     VI.    Motion for Court’s Inspection and Release of the Grand
            Jury Minutes

              Anderson moves for a comprehensive order requiring the

  government to produce (1) personal and contact information for

  all witnesses who appeared before the grand jury in this case;

  (2) a “statement as to whether or not unauthorized persons

  appeared before the Grand Jury which returned the Indictment at

  a time when the Grand Jury was involved in its functions in

  relation to the instant matter”; (3) a transcript of testimony

  given before the grand jury; and (4) a transcript of sworn

  statements made by attorneys for the government to the grand

  jury.    (Anderson Br. at 9–10.)      The government opposes

  Anderson’s motion, arguing that “defendant’s unsupported

  speculation about possible grand jury abuses is far from

  sufficient to merit disclosure of grand jury materials to either

  the Court or the defendant.”      (Gov’t Opp’n at 35.)

            A. Legal Standard

              Maintaining the secrecy of grand jury proceedings is a

  tradition in the United States that pre-dates the birth of the

  nation itself.    In re Petition of Craig, 131 F.3d 99, 101 (2d

  Cir. 1997) (citing In re Biaggi, 478 F.2d 489, 491 (2d Cir.

  1973)).    Federal Rule of Criminal Procedure 6(e) codifies the

  rule of secrecy, which has multiple purposes, including:

              (1) [t]o prevent the escape of those whose
              indictment may be contemplated; (2) to insure

                                        49
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11    Page 50 of 97 PageID #: 941



             the utmost freedom to the grand jury in its
             deliberations, and to prevent persons subject
             to indictment or their friends from importuning
             the grand jurors; (3) to prevent subornation of
             perjury or tampering with the witnesses who may
             testify before [the] grand jury and later
             appear at the trial of those indicted by it;
             (4) to encourage free and untrammeled
             disclosures by persons who have information
             with respect to the commission of crimes; [and]
             (5) to protect [the] innocent accused who is
             exonerated from disclosure of the fact that he
             has been under investigation, and from the
             expense of standing trial where there was no
             probability of guilt.

  Craig, 131 F.3d at 102 (quoting United States v. Procter &

  Gamble Co., 356 U.S. 677, 681–82 n.6 (1958)).             The Supreme Court

  has noted that secrecy also “encourage[s] all witnesses to step

  forward and testify freely without fear or retaliation” because

  “[t]he grand jury as a public institution serving the community

  might suffer if those testifying today knew that the secrecy of

  their testimony would be lifted tomorrow.”             Procter & Gamble

  Co., 356 U.S. at 682.

             Despite the strong presumption in favor of such

  secrecy, a district court may authorize disclosure of a grand-

  jury matter “at the request of a defendant who shows that a

  ground may exist to dismiss the indictment because of a matter

  that occurred before the grand jury.”         Fed. R. Crim. P.

  6(e)(3)(E)(ii).    But first, the defendant must satisfy a heavy

  burden of showing that “compelling necessity” outweighs

  countervailing public policy in order to disturb the presumption

                                        50
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 51 of 97 PageID #: 942



  of the “indispensable secrecy of grand jury proceedings.”

  Procter & Gamble Co., 356 U.S. at 682.

             Consequently, in this Circuit, “[a] review of grand

  jury minutes is rarely permitted without specific factual

  allegations of government misconduct.”         Torres, 901 F.2d at 233

  (citations and internal quotations omitted); see United States

  v. Leung, 40 F.3d 577, 582 (2d Cir. 1994) (“A review of grand

  jury minutes should not be permitted without concrete

  allegations of Government misconduct.”); United States v.

  Basciano, 763 F. Supp. 2d 303, 315 (E.D.N.Y. 2011) (“It is

  axiomatic that ‘grand jury proceedings are accorded a

  presumption of regularity, which generally may be dispelled only

  upon particularized proof of irregularities in the grand jury

  process.’”) (quoting United States v. Tranquillo, 606 F. Supp.

  2d 370, 381 (S.D.N.Y. 2009)). Moreover, “as a general matter, a

  district court may not dismiss an indictment for errors in grand

  jury proceedings unless such errors prejudiced the defendants.”

  Torres, 901 F.2d. at 233.

          B. Application

             Anderson falls far short of satisfying the heavy

  burden of showing compelling necessity through specific and

  concrete factual allegations, particularly because “[g]rand jury

  proceedings carry a presumption of regularity.”            See Torres, 901

  F.2d at 232 (internal quotation marks and citations omitted).

                                        51
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 52 of 97 PageID #: 943



  In support of his motion, Anderson does not allege any

  government misconduct or set forth any factual allegation that

  the grand jury proceedings were tainted.          On the contrary, he

  argues that the court should release and review the grand jury

  minutes so he can determine whether any irregularities occurred.

  (See Anderson Br. at 10–12.)

             In Basciano, another court in this district denied a

  motion to compel the production of grand jury minutes because it

  was based entirely on conjecture instead of fact.             763 F. Supp.

  2d at 316.    There, the defendant speculated--without supporting

  facts--that the government’s attorney may have been supervising

  the presentation of evidence to the grand jury in a related

  case.   Id.   The court found that defendant’s “unfounded

  assumptions” and “series of conjectural statements” were

  “insufficient to satisfy the particularized showing required to

  overcome grand jury secrecy, let alone to require the dismissal

  of the indictment.”      Id.

             In the instant case, Anderson offers even less than

  that which the Basciano court found to be insufficient; indeed,

  he does not allege a single non-speculative impropriety to

  support his request.      Accordingly, defendant’s motion for

  release and review of the grand jury minutes is denied. 23             See,



  23
    Anderson erroneously contends that “the reasons to maintain Grand Jury
  secrecy are minimized or nonexistent” because the grand jury has already

                                        52
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 53 of 97 PageID #: 944



  e.g., Ordaz–Gallardo, 520 F. Supp. 2d 516, 519–20 (S.D.N.Y.

  2007) (denying motion to disclose grand jury materials because

  defendants offered “little more than speculation that some

  impropriety may have occurred before the grand jury,” which fell

  “well short of the ‘particularized need’” required under well-

  settled law); United States v. Corbin, No. 09 CR 00354, 2009 WL

  4505513, at *4 (E.D.N.Y. Dec. 1, 2009) (denying defendant’s

  motion for review of grand jury proceedings because defendant

  failed to demonstrate specific occurrences of government

  misconduct).

     VII. Motion to Suppress Evidence Obtained From Leon Scarlett’s
          Cellular Telephone

              On October 18, 2010, Magistrate Judge Viktor

  Pohorelsky issued a warrant (the “Telephone Search Warrant”)

  based on an affidavit from DEA Special Agent Joelle Ando, which

  outlined the investigation and events leading to the arrest of

  numerous defendants on October 7, 2010.           (See ECF No. 281-1,

  Search Warrant dated 10/18/2010 (“Search Warrant”); see

  generally ECF No. 276-3, Affidavit in Support of Search Warrants

  (“Ando Aff.”).)     Among other things, the Telephone Search



  concluded its proceedings and issued an indictment in this case (see Anderson
  Br. at 11–12). On the contrary, “the interests in grand jury secrecy,
  although reduced, are not eliminated merely because the grand jury has ended
  its activities.” United States v. Sobotka, 623 F.2d 764, 767 (2d Cir. 1980)
  (quoting Douglas Oil Co. of Cal. v. Petrol Stops Nw., 441 U.S. 211, 222
  (1979)). Consequently, even after the grand jury has completed its
  deliberations and returned an indictment, the requirement of showing a
  particularized necessity remains. Id.

                                        53
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11    Page 54 of 97 PageID #: 945



  Warrant authorized the search of “Subject Telephone 11,” the

  cellular telephone that officers recovered from Scarlett on the

  day of his arrest.     (See Search Warrant at 1.)

             Scarlett now moves to suppress information seized from

  Subject Telephone 11 on grounds that there was a “complete

  absence of probable cause” to support Judge Pohorelsky’s

  issuance of the Telephone Search Warrant because Special Agent

  Ando’s affidavit lacked specific allegations regarding a link

  between Subject Telephone 11 and relevant conversations, text

  messages, photographs, phone numbers, or other information.

  (Scarlett Br. at 14–15.)      The government opposes Scarlett’s

  motion, arguing that the Telephone Search Warrant was valid and

  that facts alleged in Special Agent Ando’s affidavit adequately

  established probable cause.      (Gov’t Opp’n at 38–39.)          The

  government argues in the alternative that even if the Telephone

  Search Warrant was invalid, evidence obtained from Subject

  Telephone 11 is nonetheless admissible because officers who

  conducted the search acted in reasonable reliance on a search

  warrant that they believed to be adequate.             (Id. at 39–42.)

          A. Legal Standard

             The Fourth Amendment, which prohibits “unreasonable

  searches and seizures,” requires that “no warrants shall issue,

  but upon probable cause, supported by Oath.”             U.S. CONST. amend.

  IV.   The Supreme Court explained in Illinois v. Gates, 462 U.S.

                                        54
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 55 of 97 PageID #: 946



  213 (1983), that “probable cause is a fluid concept--turning on

  the assessment of probabilities in particular factual contexts--

  not readily, or even usefully, reduced to a neat set of legal

  rules.”    Id. at 232; United States v. Falso, 544 F.3d 110,

  117 (2d Cir. 2008).     The Court further stated that a magistrate

  judge’s determination of whether probable cause exists requires

  “a practical, common-sense decision whether, given all the

  circumstances set forth in the affidavit before him, . . . there

  is a fair probability that contraband or evidence of a crime

  will be found in a particular place.”         Falso, 544 F.3d at 117

  (quoting Gates, 462 U.S. at 238).

            B. Application

              Scarlett does not contest the validity or truth of the

  statements in Special Agent Ando’s affidavit; rather, he argues

  that the information in the affidavit was insufficient to

  establish probable cause to search his cell phone.             (Scarlett

  Br. at 14.)    The court disagrees and finds that Special Agent

  Ando’s affidavit contained ample support for Magistrate Judge

  Pohorelsky’s conclusion that there was probable cause to search

  Subject Telephone 11.

              First, Scarlett incorrectly asserts that Special Agent

  Ando’s affidavit contained only “two boilerplate paragraphs” to

  support Judge Pohorelsky’s finding of probable cause.              (See id.)

  To the contrary, Special Agent Ando’s affidavit outlined the

                                        55
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 56 of 97 PageID #: 947



  circumstances leading up to and surrounding Scarlett’s arrest.

  The affidavit described in detail the year-long investigation

  conducted by the DEA and the Postal Inspectors into a drug

  distribution organization allegedly led by Barret; the execution

  of a search warrant at the Barret Residence on October 7, 2010,

  during which agents saw in plain view open boxes containing

  large quantities of marijuana, and a loaded firearm; and the

  circumstances of Scarlett’s arrest, which immediately followed

  his attempted flight from the Barret Residence when police

  arrived.   (Ando Aff. at 8–20.)

             In addition, in paragraphs 45 and 46 of her supporting

  affidavit--which Scarlett characterizes as “two boilerplate

  paragraphs” with “absolutely no specifics” related to the case

  or Scarlett (see Scarlett Br. at 14)--Special Agent Ando states

  that (1) cell phones are capable of electronically storing

  numerous types of information; and (2) in her experience,

  individuals involved in narcotics trafficking typically use

  cellular phones to communicate and store information and other

  records on their phones.      (Ando Aff. at 25–26.)

             In United States v. Lam, No. 05-CR-104S(F), 2006 WL

  2864019 (W.D.N.Y. May 23, 2006) (Report and Recommendation),

  adopted sub nom. United States v. Tran, No. 05-CR-104S, 2006 WL

  2884144 (W.D.N.Y. Oct. 4, 2006), a defendant whose cellular

  phone was (a) seized during his warrantless arrest and (b) later

                                        56
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11    Page 57 of 97 PageID #: 948



  searched pursuant to a warrant, moved to suppress evidence from

  the phone on grounds that there was insufficient probable cause

  to support issuance of the search warrant.             Id. at *5.    There,

  as here, a government agent “recited the events leading to

  [defendant] Tran’s arrest and stated his belief, based on his

  experience as a narcotics investigator, that drug traffickers

  frequently store relevant information in their cellular phones.”

  Id.   The court noted that “the experience of narcotics

  investigators has been accepted as the basis to support such

  cell phone searches.”      Id. (citing United States v. Gaskin, 364

  F.3d 438, 457–58 (2d Cir. 2004)).          In finding that the search

  warrant was supported by probable cause, the court also pointed

  out that the agent’s experience with the use of cell phones was

  not the only information upon which the warrant was issued; the

  judge who issued the warrant had also been given a “thorough

  recounting of the entire investigatory scenario leading to

  Defendants’ arrests.”      Id.

             Similarly, here, the court finds that based on Special

  Agent Ando’s affidavit, which (a) outlined the circumstances

  leading to Scarlett’s arrest--including his attempt to flee from

  a house to which large quantities of marijuana had just been

  delivered--and (b) set forth the basis for Special Agent Ando’s

  belief that the phone recovered from Scarlett at the time of his

  arrest contained evidence of a crime, there was ample support

                                        57
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 58 of 97 PageID #: 949



  for Magistrate Judge Pohorelsky’s practical, common-sense

  determination that there was probable cause to believe that

  evidence of a crime would be found on Subject Telephone 11.

  Accordingly, the court denies Scarlett’s motion to suppress

  evidence from Subject Telephone 11.

       VIII. Motion to Strike Aliases from the Superseding
            Indictment

              Barret moves pursuant to Federal Rule of Criminal

  Procedure 7(d) and the Fifth Amendment of the Constitution to

  strike his five aliases 24 from the caption and body of the

  Superseding Indictment, on grounds that such aliases are

  inflammatory and constitute “highly prejudicial surplusage” that

  would deprive Barret of his right to a fair trial. 25             (Barret Br.

  at 1–2.)    The government argues in opposition that it needs to

  use Barret’s aliases to identify him at trial because many of

  Barret’s co-conspirators and witnesses for the government know

  Barret only by his nicknames, specifically “Mouthy,” “The

  General” and “Derrick Brown.”         (Gov’t Opp’n at 43–44.)




  24
    “Derrick Brown,” “Sean Brown,” “Mouthy,” “The General” and “Solo.”
  25
    Barret’s memorandum of law in support of his motion is internally
  inconsistent. In the first paragraph, Barret moves for the court to strike
  all five aliases from the indictment. (See Barret Br. at 1.) In the next
  paragraph, however, Barret lists only “Sean Brown,” “Mouthy,” “The General”
  and “Solo” as allegedly prejudicial surplusage. (Id.) Nevertheless, the
  court will construe Barret’s motion as one to strike all five aliases.

                                        58
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 59 of 97 PageID #: 950



            A. Legal Standard

              Under Federal Rule of Criminal Procedure 7(d), the

  court may strike surplusage from an indictment upon defendant’s

  motion.    Fed. R. Crim. P. 7(d).      The Second Circuit has held,

  however, that district courts should not grant motions to strike

  surplusage unless “the challenged allegations are not relevant

  to the crime charged and are inflammatory and prejudicial.”

  United States v. Mulder, 273 F.3d 91, 99 (2d Cir. 2001) (quoting

  United States v. Scarpa, 913 F.2d 933, 1013 (2d Cir. 1990)).

  Moreover, “even language deemed prejudicial should not be

  stricken if evidence of the allegation is admissible and

  relevant to the charge.”      United States v. Rivera, No. 09–CR–

  619, 2010 WL 1438787, at *5 (E.D.N.Y. Apr. 7, 2010) (citing

  Scarpa, 913 F.2d at 1013).      “Given this exacting standard, such

  motions [to strike] are rarely granted.”          Id. (quoting United

  States v. Coffey, 361 F. Supp. 2d 102, 123 (E.D.N.Y. 2005)).

              In United States v. Peterson, 168 F. Supp. 2d 51

  (E.D.N.Y. 2001), another court in this district denied a

  defendant’s motion to strike his alias from the indictment

  because the alias was relevant in light of the government’s

  representation that the alias would comprise part of its proof

  at trial.    Id. at 56.    Similarly, in United States v. Rucker, 32

  F. Supp. 2d 545 (E.D.N.Y. 1999), yet another a court in this

  district held that “[r]eference to a defendant by his name and

                                        59
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 60 of 97 PageID #: 951



  alias is permissible if the government intends to offer evidence

  of that alias as being necessary to identify the defendant in

  connection with the crimes charged.”         Id. at 560.      Here, the

  government contends that use of Barret’s aliases is necessary to

  identify Barret at trial.      (Gov’t Opp’n at 43.)        Consequently,

  the court finds that the aliases are relevant.

              In addition, the court does not find that defendant’s

  aliases are inflammatory or prejudicial.          Barret’s aliases are

  innocuous, unlike nicknames such as “Frankie the Beast” or

  Carmine “The Snake,” which a trial court deemed prejudicial in

  United States v. Persico, 621 F. Supp. 842, 860 (S.D.N.Y. 1985).

  Moreover, even if the court did find Barret’s aliases to be

  prejudicial in themselves, the court would still deny Barret’s

  motion to strike the aliases from the indictment because the

  aliases are relevant.      See Rucker, 32 F. Supp. 2d at 560 (noting

  that the prejudicial nature of an alias is “not fatal if [the

  alias] will be admissible as part of the government’s proof at

  trial”); see also Persico, 621 F. Supp. at 861 (“Even if

  prejudicial, however, aliases and nicknames are proper in an

  indictment where they will be part of the government’s proof at

  trial.”).

              Accordingly, the court denies without prejudice

  Barret’s motion to strike his aliases from the indictment as

  surplusage.    Barret may renew the motion after the government

                                        60
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 61 of 97 PageID #: 952



  presents its case at trial.       See Peterson, 168 F. Supp. 2d at 56

  (allowing renewal of motion to strike if the government failed

  to offer at trial proof of the alias as tending to identify

  defendant and connecting him to the acts charged in the

  indictment); Persico, 621 F. Supp. at 861 (denying motion to

  strike aliases from indictment without prejudice, with right to

  renew after close of government’s case).

       IX.   Motion for Dismissal of Indictment and Motion for Massiah
             (Cardona) Hearing 26

               Barret moves to dismiss the Superseding Indictment on

  grounds that it is insufficient on its face, that “there was no

  basis for Mr. Barret’s arrest,” and on the theory that the

  government has destroyed certain surveillance images created

  during the three-month period between July and September 2010.

  (Barret Br. at 19–21, 24.)       In connection with these motions,

  Barret also moves for a Massiah hearing to address his suspicion

  that the government may have improperly attempted to use “in-



  26
    Barret requests a “Cardona hearing” to test the admissibility of statements
  that may have been made by an indicted co-defendant to an individual who may
  have been acting as an agent on behalf of the government. (Barret Br. at
  20.) A Cardona hearing is the functional equivalent of a Massiah hearing,
  during which the court determines, pursuant to Massiah v. United States, 377
  U.S. 201 (1964), whether one’s Sixth Amendment right to counsel has been
  violated because a private individual acting as a government agent
  deliberately elicited incriminating statements from an accused defendant in
  the absence of his counsel. United States v. Miller, 116 F.3d 641, 665 (2d
  Cir. 1997). Cardona hearings are used in New York State criminal
  proceedings, whereas the proper term is “Massiah hearing” in federal court.
  Fox v. Bezio, No. 10-CV-2986, 2011 WL 837158, at *3 n.5 (E.D.N.Y. Mar. 7,
  2011); see, e.g., United States v. Yousef, 327 F.3d 56, 173 (2d Cir. 2003).
  Consequently, the court will refer to the hearing Barret requests by its
  proper name throughout the remainder of this Memorandum and Order.

                                        61
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 62 of 97 PageID #: 953



  jail conversations” of Barret’s co-defendants to obtain

  additional evidence against him.           (Id. at 20.)

             The government argues that the indictment is facially

  sufficient because it tracks the language of the statute.

  (Gov’t Opp’n at 45–47.)      The government also argues that

  Barret’s allegations about the government’s destruction of

  surveillance images are meritless and that he has not availed

  himself of the government’s numerous offers to perform forensic

  analysis on the footage.      (Id. at 47.)       The government did not

  address Barret’s motion for a Massiah hearing.

          A. Motion to Dismiss the Indictment

                   1. Sufficiency of the Indictment

                         a. Legal Standard

             Pursuant to Federal Rule of Criminal Procedure

  7(c)(1), an indictment must include “a plain, concise, and

  definite written statement of the essential facts constituting

  the offense charged.”      Fed. R. Crim. P. 7(c)(1).        The indictment

  “must sufficiently inform the defendant of the charges against

  him and provide enough detail so that he may plead double

  jeopardy in a future prosecution based on the same set of

  events.”   United States v. De La Pava, 268 F.3d 157, 162 (2d

  Cir. 2001).    Moreover, to survive a motion to dismiss, “‘an

  indictment need do little more than to track the language of the

  statute charged and state the time and place (in approximate

                                        62
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 63 of 97 PageID #: 954



  terms) of the alleged crime.’”        United States v. Yannotti, 541

  F.3d 112, 127 (2d Cir. 2008) (quoting United States v. Alfonso,

  143 F.3d 772, 776 (2d Cir. 1998)); see also United States v.

  Kalish, 403 F. App’x 541, 544, (2d Cir. 2010) (“[A]n indictment

  ‘need only track the language of the statute and, if necessary

  to apprise the defendant of the nature of the accusation against

  him, state time and place in approximate terms.’”) (quoting

  United States v. Frias, 521 F.3d 229, 235 (2d Cir. 2008)).

                         b. Application

             In light of the foregoing legal standards, the absence

  of particulars such as “a specific time,” “exact locations,” or

  “a description of Mr. Barret’s participation” in the Superseding

  Indictment (see Barret Br. at 20) does not render it legally

  insufficient.    In United States v. Faison, 393 F. App’x 754 (2d

  Cir. 2010), the Second Circuit affirmed a district court’s

  finding that an indictment was sufficient because it “track[ed]

  the language of [21 U.S.C. §§ 846 and 841(a)(1)], specif[ied] .

  . . the approximate time and location of the alleged crime . . .

  [and] stated adequately the object of the conspiracy--possessing

  cocaine with intent to distribute it.”         Id. at 757 (internal

  quotation marks omitted).      Likewise, the court finds here that

  Counts One, Two and Three in the Superseding Indictment state

  all elements of each crime charged by tracking the language of



                                        63
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 64 of 97 PageID #: 955



  21 U.S.C. §§ 846 and 841(b)(1)(A)(vii); 21 U.S.C. §§ 841(a)(1)

  and 841(b)(1)(A)(vii); and 18 U.S.C. §§ 924(c)(1)(A)(i) and 2.

              Moreover, Barret’s argument that reference in the

  Superseding Indictment to his criminal activity, “together with

  others” should be stricken for lack of specificity (see Barret

  Br. at 20) lacks merit.       In United States v. Hill, 279 F. App’x

  90 (2d Cir. 2008), the Second Circuit upheld the use of the

  phrase “together with others” in an indictment, finding that the

  phrase, in combination with a citation to 18 U.S.C. § 2,

  comprised sufficient notice to a defendant that he faced

  liability under an aiding-and-abetting theory.             Id. at 94–95.

  Accordingly, the court denies Barret’s motion to dismiss the

  Superseding Indictment on grounds of insufficiency. 27

                    2. Alleged Destruction of Evidence

              Barret also moves to dismiss the Superseding

  Indictment on the speculative ground that “the government may

  have destroyed the September, August and July 2010 images.”

  (Barret Br. at 24 (emphasis added).)          Barret claims that if the



  27
     Because the court finds that the indictment is valid on its face, the court
  need not address defendant’s claims that “there was no basis for Mr. Barret’s
  arrest” and that “[t]he case against Mr. Barret is based on hearsay,
  uncorroborated evidence, and unsupported allegations” (see Barret Br. at 19–
  20). See United States v. Fleurissaint, No. 03 CR 906, 2004 WL 2101922, at
  *2 (S.D.N.Y. Sept. 21, 2004) (“A court may not . . . dismiss an indictment
  because it is not ‘supported by adequate or competent evidence.’”) (quoting
  Costello v. United States, 350 U.S. 359, 364 (1956)); see also Costello, 350
  U.S. at 363 (“An indictment returned by a legally constituted and unbiased
  grand jury . . . if valid on its face, is enough to call for a trial of the
  charge on the merits.”).

                                        64
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 65 of 97 PageID #: 956



  images were destroyed, the court would have a basis to dismiss

  the indictment because the defendant would be at a “decided

  disadvantage.”    (Id.)    In opposition, the government represents

  that it has “repeatedly invited defense counsel to review the

  original video surveillance evidence and to perform its forensic

  analysis” to determine whether the government in fact tampered

  with the evidence.     (Gov’t Opp’n at 47.)

                         a. Legal Standard

             A defendant must meet three requirements to prove that

  the government’s destruction of evidence amounts to a violation

  of his due process rights warranting dismissal of an indictment:

  “(1) the government must have acted in bad faith in destroying

  the evidence; (2) the evidence must . . . possess an exculpatory

  value that was apparent before [it] was destroyed; and (3) the

  defendant must be unable to obtain comparable evidence by other

  reasonably available means.”      United States v. Tyree, 279 F.

  App’x. 31, 33 (2d Cir. 2008) (internal citations and quotation

  marks omitted).

                         b. Application

             Defendant fails to meet all three of these

  requirements.    He does not offer a single fact to support a

  finding of bad faith or establish the exculpatory value of the

  allegedly destroyed evidence, and he offers nothing more than a

  bald assertion that he would be unable to obtain comparable

                                        65
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 66 of 97 PageID #: 957



  evidence if the surveillance tapes were destroyed.             (See Barret

  Br. at 24.)    Indeed, Barret acknowledges that he does not even

  know whether such destruction has occurred.            (Id.)   Accordingly,

  the court denies Barret’s baseless motion to dismiss the

  indictment.

          B. Motion for Massiah Hearing

                   1. Legal Standard

             “It is well settled that the Sixth Amendment right to

  counsel is violated when a private individual, acting as a

  government agent, ‘deliberately elicit[s]’ incriminating

  statements from an accused in the absence of his counsel.”

  Miller, 116 F.3d at 665 (quoting Massiah, 377 U.S. at 206).               A

  defendant is not automatically entitled to an evidentiary

  Massiah hearing simply because he asserts that a Massiah

  violation has occurred, however.           Miller, 116 F.3d at 665.

  Rather, in order to require a hearing on such a claim, “the

  defendant bears the burden of alleging specific facts”

  indicating the existence of such a violation.            United States v.

  Aulicino, 44 F.3d 1102, 1117 (2d Cir. 1995) (internal citation

  and quotation marks omitted).

                   2. Application

             Here, Barret has failed to allege any specific facts

  to support his request for a Massiah hearing.            Far from

  submitting concrete factual allegations, he states only his

                                        66
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 67 of 97 PageID #: 958



  suspicion that “the government may attempt” to improperly elicit

  information from his co-defendants (see Barret Br. at 20)

  (emphasis added).      Accordingly, because Barret’s motion is

  baseless, the court denies his motion for a Massiah hearing.

     X.   Motion for Hearing Concerning Authenticity, Audibility
          and Visual Clarity of Recorded Materials

              Barret moves for a hearing to address concerns

  regarding the “authenticity, audibility and/or visual clarity of

  recorded materials” provided by the government during discovery.

  (Barret Br. at 28.)     The government opposes Barret’s motion

  because Barret has not specified which recordings give rise to

  these concerns or the precise nature of his concerns, and he has

  not set forth a basis to challenge the authenticity of the

  recordings.    (Gov’t Opp’n at 48.)        The government also opposes

  Barret’s motion as premature because the government has not yet

  identified the recordings that it plans to offer into evidence

  at trial.    (Id.)

              Defendant has not identified the recordings that give

  rise to his motion.     Moreover, the court agrees with the

  government that defendant’s request is premature because the

  government has not yet determined which recordings--if any--it

  intends to introduce at trial.        See United States v.

  Koschtschuk, No. 09-CR-0096, 2010 WL 584018, at *9 (W.D.N.Y.

  Feb. 16, 2010) (denying without prejudice defendant’s motion for


                                        67
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 68 of 97 PageID #: 959



  audibility hearing as premature because government had not yet

  decided which recordings it intended to introduce at trial);

  United States v. Columbo, No. 04 CR. 273, 2006 WL 2012511, at

  *14 (S.D.N.Y. July 18, 2006) (denying without prejudice

  defendant’s motion for audibility hearing and instructing

  defendant to identify and bring to the court’s attention

  “specific audibility issues” as soon as the government

  designated the tapes it intended to use at trial).

             For the same reasons, the court finds that issues of

  authenticity and visual clarity ought to be resolved together

  with any issues of audibility when the government determines

  which recordings it intends to introduce into evidence at trial.

  Per the Pre-Trial Scheduling Order that governs this case, the

  parties shall exchange and file their list of exhibits no later

  than December 9, 2011.      (See ECF No. 252, Criminal Pre-Trial

  Scheduling Order, at 1.)      At that time, Barret may raise

  specific audibility, visual clarity or authenticity issues, and

  the bases for such concerns, and renew his motion.             Accordingly,

  Barret’s motion for a hearing concerning the authenticity,

  audibility and visual clarity of recorded materials is denied

  without prejudice.




                                        68
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 69 of 97 PageID #: 960



     XI.   Motion to Compel Rule 16 Discovery and to Isolate
           Surveillance Evidence

             Barret moves pursuant to Federal Rule of Criminal

  Procedure 16 (“Rule 16”) for an order compelling the government

  to provide all outstanding discovery and evidence.             (Barret Br.

  at 2–4.)   In addition, Barret moves for an order directing the

  government to isolate from a total of approximately 1700 hours

  of video surveillance images the “precise dates and times of all

  pertinent images the Government intends to offer at trial.”

  (Id. at 2.)

             The government argues that Barret’s motion for Rule 16

  discovery is moot because the government has already “fully

  complied with and will continue to comply with” its discovery

  disclosure obligations under Rule 16.         (Gov’t Opp’n at 49–50.)

  In addition, the government opposes Barret’s motion for an order

  compelling the government to identify the portions of video

  surveillance images to be used during the government’s case-in-

  chief.   (Id. at 49.)

           A. Rule 16 Discovery

             The court agrees with the government that an order

  compelling the government to comply with its Rule 16 obligations

  is unnecessary.    Since December 3, 2010, the government has made

  numerous Rule 16 disclosures (see ECF Nos. 219, 234–37, 255, and

  274), which lends substantial support to the government’s


                                        69
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 70 of 97 PageID #: 961



  representation that it has “fully complied with and will

  continue to comply with” its Rule 16 obligations.             Accordingly,

  the court denies as moot Barret’s motion to compel production of

  evidence pursuant to Rule 16.

           B. Order Directing the Government to Isolate Video
              Surveillance Images

                   1. Legal Standard

             Among other things, Rule 16(a)(1)(E) requires the

  government to furnish to the defendant, upon request, three

  categories of documents and data in its possession prior to

  trial:   (1) “material to preparing the defense,” (2) that the

  Government intends to use as evidence in its case-in-chief at

  trial, and (3) that was “obtained from or belongs to the

  defendant.”    Fed. R Crim. P. 16(a)(1)(E).        It is well-settled,

  however, that “Rule 16(a)(1)(e) ‘does not require the Government

  to identify specifically which documents it intends to use as

  evidence.’”    United States v. Vilar, 530 F. Supp. 2d 616,

  636 (S.D.N.Y. 2008) (quoting United States v. Carrington, No. 02

  CR 897, 2002 WL 31496199, at *2 (S.D.N.Y. Nov. 7, 2002)).

  Rather, the rule “merely requires that the Government produce

  documents falling into the three enumerated categories.”              Id.

  (quoting Carrington, 2002 WL 31496199, at *2).

             In United States v. Kaur, No. 08-CR-428, 2009 WL

  1296612 (E.D.N.Y. May 7, 2009), the government made


                                        70
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11    Page 71 of 97 PageID #: 962



  approximately 1,000 hours of surveillance footage available to

  the defendant before trial, pursuant to Rule 16(a)(1)(E), then

  used a clip from that footage at trial.           Id. at *8.      Defendant

  claimed that because the government had not identified and

  isolated the clip prior to trial, the government had “failed to

  disclose the evidence within the meaning of Rule 16(a)(1)(E)”

  and that he was “bound within voluminous amounts of other

  material produced just in advance of trial.”              Id.   This court

  disagreed, finding that Rule 16 did not obligate the government

  to separately identify and isolate the video clip from the

  footage it produced to the defendant.          Id.      Furthermore, this

  court noted that the government’s production of the video was

  timely submitted according to a schedule to which the defendant

  agreed.   Id. at *9.

                   2. Application

             Here, the court likewise finds that the government is

  not obliged under Rule 16 to identify or isolate the specific

  clips it intends to use during its case-in-chief.               See United

  States v. Galestro, No. 06-CR-285, 2008 WL 2783360, at *19

  (E.D.N.Y. July 15, 2008) (noting that the “prosecution [does]

  not have any obligation under Rule 16 of the Federal Rules of

  Criminal Procedure to identify the specific recordings it

  intends to use as evidence”).         The government timely produced

  its pole camera recordings to Barret more than eleven months ago

                                        71
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 72 of 97 PageID #: 963



  (see ECF No. 234, Gov’t Letter dated 12/3/2010; Gov’t Opp’n at

  49), and the government produced surveillance from Barret’s home

  security system on August 9, 2011 (see ECF No. 219, Gov’t Letter

  dated 8/9/2011; Gov’t Opp’n at 49), providing ample opportunity

  for him to review the footage in preparation for his defense.

  Moreover, the government recently provided defense counsel with

  the dates of the recordings it intends to use at trial.              (See

  ECF No. 286, Gov’t Letter dated 11/9/2011.)            In addition, during

  the November 10, 2011 status conference, the court ordered the

  government to identify with more specificity the timeframes of

  video evidence it intends to use during its case-in-chief, by

  December 27, 2011.     (See Minute Entry dated 11/10/2011.)

  Accordingly, Barret’s motion for an order directing the

  government to isolate the “precise . . . times of all pertinent

  images the Government intends to offer at trial” is denied as

  moot.

     XII. Motion to Compel Immediate Production of Brady and Giglio
          Material

             Barret moves for an order compelling the government to

  disclose all exculpatory material and information in its

  possession that falls within the scope of Brady v. Maryland, 373

  U.S. 83 (1963).    (Barret Br. at 5–12.)       Barret also moves for an

  order to compel the government’s immediate production of

  impeachment material pursuant to Giglio v. United States, 405


                                        72
Case 1:10-cr-00809-KAM    Document 289   Filed 11/16/11   Page 73 of 97 PageID #: 964



  U.S. 150 (1972).       (Id. at 10–12.)      In opposition, the government

  acknowledges and affirms its obligation to produce Brady

  material; represents that it is presently unaware of any such

  material; and confirms that it will “immediately produce such

  material should any be discovered.”          (Gov’t Opp’n at 51.)        The

  government also argues that the court’s intervention is

  unnecessary because it intends to produce the Giglio material at

  the same time it produces Jencks Act material. 28            (Id. at 52

  (citing United States v. Coppa, 267 F.3d 132, 142 (2d Cir.

  2001)).)

           A. Legal Standard

              “Under Brady and its progeny, ‘the Government has a

  constitutional duty to disclose favorable evidence to the

  accused where such evidence is ‘material’ either to guilt or to

  punishment.’”     United States v. Paulino, 445 F.3d 211, 224 (2d

  Cir. 2006) (quoting Jackson, 345 F.3d at 70).             “Favorable

  evidence” that must be disclosed for purposes of Brady “includes

  not only evidence that tends to exculpate the accused, but also

  evidence that is useful to impeach the credibility of a

  government witness,” also known as “Giglio material.”               Coppa,

  267 F.3d at 139 (citing Giglio, 405 U.S. at 154).              “[A]



  28
    The government initially intended to produce Jencks Act material one week
  before trial (see id. at 57), but agreed during the November 10, 2011 status
  conference to provide the Jencks Act material by December 27, 2011 (see
  Minute Entry dated 11/10/2011).

                                         73
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 74 of 97 PageID #: 965



  prosecutor must disclose evidence if, without such disclosure, a

  reasonable probability will exist that the outcome of a trial in

  which the evidence had been disclosed would have been

  different.”    Coppa, 267 F.3d at 142.

             It is well-settled that the government need not

  immediately disclose Brady or Giglio material simply upon

  request by the defendant.      Id. at 146.      Rather, the government

  must disclose all Brady and Giglio material “in time for its

  effective use at trial.”      Id.     Because the period of time that

  satisfies that requirement depends on the materiality of the

  evidence and the particular circumstances of each case, id. at

  146, the Second Circuit “has declined to specify a precise

  meaning for the phrase ‘in time for effective use.’”              United

  States v. Saliba, No. 08-CR-792, 2010 WL 680986, at *4 (E.D.N.Y.

  Feb. 24, 2010) (citing United States v. Rodriguez, 496 F.3d 221,

  227-28 (2d Cir. 2007)).

             The Second Circuit has noted that “disclosure in

  advance of trial can be advantageous,” particularly if the

  material warrants additional investigation by the defense.

  Rodriguez, 496 F.3d at 228 n.6.        In other cases, however, “mid-

  trial disclosure may be adequate where defense counsel, before

  the start of cross-examination, is given the opportunity to

  cross-examine the witness outside the presence of the jury.”

  Id.   Notably, “there is no pre-trial discovery right to Giglio

                                        74
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 75 of 97 PageID #: 966



  materials.”    United States v. RW Prof’l Leasing Servs. Corp.,

  317 F. Supp. 2d 167, 179 (E.D.N.Y. 2004) (citing United States

  v. Nixon, 418 U.S. 683, 701 (1974)).         “A district court has the

  discretion to order Brady/Giglio disclosure at any time as a

  matter of sound case management.”          Saliba, 2010 WL 680986, at *4

  (internal quotation marks omitted).

          B. Application

             Here, the government has represented to the court that

  it is aware of its obligations under Brady; that it is unaware

  of any Brady material currently in its possession; and that if

  it becomes aware of any such material, it will immediately

  produce the material.      (See Gov’t Opp’n at 51.)        These

  representations are sufficient to satisfy the court unless and

  until a defendant gives the court reason to believe that the

  government is not complying with its Brady obligations.

  RW Prof’l Leasing Servs., 317 F. Supp. 2d at 179; see United

  States v. King, No. 10 CR 122, 2011 WL 1630676, at *7 (S.D.N.Y.

  Apr. 27, 2011) (denying motion to compel Brady material, finding

  sufficient government’s affirmation of its continuing disclosure

  obligations under Brady, and its promise to promptly disclose

  any such material upon discovery).

             With respect to the Giglio material, the government

  indicates that it intends to “adhere to its customary practice

  of producing any such material at the same time it produces

                                        75
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 76 of 97 PageID #: 967



  Jencks Act material,” one week before trial.           (Gov’t Opp’n at

  52–53, 56.)    The court in its discretion denies the motion for

  immediate disclosure of Giglio material at this time.              See

  Saliba, 2010 WL 680986, at *4 (denying motion to compel

  immediate disclosure of Giglio material for trial “[g]iven that

  the trial is over a month away” and in light of the government’s

  intention to disclose the material shortly before trial).

  Nevertheless, because early disclosure of Giglio material will

  aid the court as late disclosure has great potential to disrupt

  the flow of trial, see United States v. Bronson, No. 05-CR-714,

  2007 WL 2455138, at *14 (E.D.N.Y. Aug. 23, 2007), the court

  directs the government to disclose this material to defendants

  by December 27, 2011.

     XIII. Motion to Compel Early Disclosure of Jencks Act
          Material

             Barret moves for an order compelling the government to

  disclose material pursuant to the Jencks Act, 18 U.S.C. § 3500,

  in advance of trial.     (Barret Br. at 26–27.)        The government

  opposes Barret’s motion, contending that the Jencks Act itself

  prohibits the court from compelling its early disclosure of

  material pursuant to the statute.          (Gov’t Opp’n at 54.)

             The Jencks Act, codified at 18 U.S.C. § 3500, provides

  in relevant part that:

             In any criminal prosecution brought by the
             United States, no statement or report in the

                                        76
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 77 of 97 PageID #: 968



              possession of the United States which was
              made by a Government witness or prospective
              Government witness (other than the
              defendant) shall be the subject of subpoena,
              discovery, or inspection until said witness
              has testified on direct examination in the
              trial of the case.

  18 U.S.C. § 3500(a).     Therefore, the statute “deprives the

  District Courts of the power to mandate early production of such

  material.”    United States v. Seabrook, No. 10 Cr. 87, 2010 WL

  5174353, at *3 (S.D.N.Y. Dec. 14, 2010); see Coppa, 267 F.3d at

  146 (finding district court exceeded its authority in ordering

  pre-trial disclosure of Jencks material because the Jencks Act

  constrained the court’s power to issue any such order); United

  States v. Souza, No. 06-CR-806, 2008 WL 753736, at *15 (E.D.N.Y.

  Mar. 19, 2008) (denying motion because the court lacked

  authority to order pretrial disclosure of Jencks material).

  During the November 10, 2011 status conference, however, the

  government agreed to produce all Jencks Act material by December

  27, 2011.    (See Minute Entry dated 11/10/2011.)          Accordingly,

  Barret’s motion for early disclosure of Jencks Act material is

  denied as moot.

     XIV. Motion to Compel Early Disclosure of Government’s Witness
          List

              Barret moves for an order compelling the disclosure of

  a list of the government’s anticipated trial witnesses.              (Barret

  Br. at 26.)    The government argues that Barret’s motion should


                                        77
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 78 of 97 PageID #: 969



  be denied because he has failed to allege a particularized need

  for such disclosure, as required in this Circuit.             (Gov’t Opp’n

  at 58–59.)

          A. Legal Standard

             “[T]he prosecution has no general duty to disclose the

  identity of its witnesses who will testify against defendants in

  advance of trial,” nor does Federal Rule of Civil Procedure 16

  require the government to provide a list of its anticipated

  witnesses prior to trial.      United States v. Rivera, 2010 WL

  1438787, at *4.    Nevertheless, “the court may order the

  disclosure when a balancing of the defendants’ need for

  disclosure and the Government’s need for concealment indicates

  that such an order would be in the interests of justice.”

  Biaggi, 675 F. Supp. at 810–11 (citing United States v. Cannone,

  528 F.2d 296, 301–02 (2d Cir. 1975)); see also United States v.

  Bejasa, 904 F.2d 137, 139 (2d Cir. 1990) (noting district courts

  have authority to compel pre-trial disclosure of identities of

  witnesses).

             The court need not grant the defendant’s motion absent

  some specific showing that “disclosure [is] both material to the

  preparation of [the] defense and reasonable in light of the

  circumstances surrounding [the] case,” however.            Id. at 139–40;

  see also Biaggi, 675 F. Supp. at 810–11 (discretion to compel

  pre-trial disclosure of government witness list “should be

                                        78
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11    Page 79 of 97 PageID #: 970



  exercised only when the defense makes a specific showing of

  need”).    An “abstract conclusory claim [by defendant] that . . .

  disclosure [is] necessary to its proper preparation for trial”

  does not suffice.      Cannone, 528 F.2d at 301–02.

            B. Application

              Here, Barret has not specified why his need for

  disclosure of the government’s witness list outweighs the

  government’s need to await a time closer to trial.              Nor has he

  alleged that the list is material to his preparation of a

  defense and reasonable under the present circumstances.               Indeed,

  Barret has made no showing of need at all.             Consequently, the

  court denies Barret’s motion to compel the government’s

  disclosure of its witness list.        See United States v. Vondette,

  248 F. Supp. 2d 149, 156–57 (E.D.N.Y. 2001) (denying motion to

  compel pre-trial disclosure of government witness list because

  defendant did not make specific showing of need); see also

  Rivera, 2010 WL 1438787, at *4 (same); Ojeikere, 299 F. Supp. 2d

  at 258 (same).    Each party shall disclose its witness list by

  December 9, 2011, per the previously issued Pre-Trial Scheduling

  Order.    (See ECF No. 252, Criminal Pre-Trial Scheduling Order,

  at 1–2.)




                                        79
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 80 of 97 PageID #: 971



     XV.    Motion to Preserve Rough Notes Taken as Part of the
            Investigation

              Barret moves for an order requiring all government

  agents and officers who participated in the investigation to

  retain and preserve all contemporaneous rough notes taken as

  part of their investigation of the instant case.            (Barret Br. at

  26-27.)     The government did not oppose this motion.

            A. Legal Standard

              Government agents need not preserve rough notes if

  they incorporate the notes into formal reports.            United States

  v. Elusma, 849 F.2d 76, 79 (2d Cir. 1988); see United States v.

  Barlin, 686 F.2d 81, 92 (2d Cir. 1982) (finding that because

  agent’s notes were fully incorporated into his formal report,

  “the notes need not have been preserved and their destruction

  violated no Jencks Act right”).        Nevertheless, defendant “may be

  entitled to production of at least a portion of the notes at

  trial if they were still in existence at the time of trial and

  were discoverable under the provisions of the Jencks Act.”

  United States v. Bosch, 385 F. Supp. 2d 387, 390 (S.D.N.Y.

  2005); see also 18 U.S.C. § 3500(e)(2) (defining potentially

  discoverable “statement” as including “a stenographic,

  mechanical, electrical, or other recording, or a transcription

  thereof, which is a substantially verbatim recital of an oral




                                        80
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 81 of 97 PageID #: 972



  statement made by said witness and recorded contemporaneously

  with the making of such oral statement”).

           B. Application

              The court grants Barret’s motion and orders the

  government to preserve all rough notes taken as part of the

  investigation of the instant case that (a) currently exist at

  the time of this order, or (b) are created afterwards.              See

  Bosch, 385 F. Supp. 2d at 390 (granting pre-trial motion for

  preservation of all “rough notes taken as part of the

  investigation of the defendants in existence at the time of this

  order, or created afterwards”); see also United States v. Urso,

  369 F. Supp. 2d 254, 274 (E.D.N.Y. 2005) (issuing pre-trial

  order compelling government to preserve rough notes as “a

  prophylactic order”).

     XVI. Motion to Compel Pre-Trial Disclosure of Rule 404(b)
          Material

              Barret moves for an order compelling the government to

  produce in advance of trial all evidence it will seek to

  introduce pursuant to Federal Rule of Evidence 404(b) (“Rule

  404(b)”).   (Barret Br. at 25.)       In opposition, the government

  characterizes Barret’s motion as one requesting “early

  disclosure,” and proposes that the court permit the government

  to file its Rule 404(b) notice no later than two weeks before

  trial.   (Gov’t Opp’n at 60–61.)


                                        81
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 82 of 97 PageID #: 973



          A. Legal Standard

             Rule 404(b) provides that evidence of “other crimes,

  wrongs, or acts” may be admissible “as proof of motive,

  opportunity, intent, preparation, plan, knowledge, identity, or

  absence of mistake or accident,” and that “upon request by the

  accused, the prosecution in a criminal case shall provide

  reasonable notice in advance of trial . . . of the general

  nature of any such evidence it intends to introduce at trial.”

  Fed. R. Evid. 404(b).      The Federal Rules of Evidence do not

  define the timeframe that constitutes “reasonable notice in

  advance of trial,” however.

             As the government notes, courts in the Second Circuit

  “have generally interpreted ‘reasonable notice’ to be ten days

  to two weeks before trial.”      United States v. James, No. 02 CV

  0778, 2007 WL 914242, at *8 (E.D.N.Y. Mar. 21, 2007) (Report and

  Recommendation), adopted and aff’d, id. at *2; see also United

  States v. Kyongja Kang, No. 04 CR 87, 2006 WL 208882, at *7

  (E.D.N.Y. Jan. 25, 2006) (directing government to provide notice

  of 404(b) evidence one week prior to trial to satisfy

  “reasonable notice” requirement); United States v. Aparo, 221 F.

  Supp. 2d 359, 366 (E.D.N.Y. 2002) (granting defendants’ pre-

  trial motion for Rule 404(b) notice “insofar as it directs the

  government to provide the defendants with notice of the 404(b)



                                        82
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 83 of 97 PageID #: 974



  evidence it proposes to offer at trial two weeks prior

  thereto”).

          B. Application

             During the November 10, 2011 status conference, the

  court directed the government to file its Rule 404(b) motions by

  November 21, 2011.     (See Minute Entry dated 11/10/2011.)

  Accordingly, the motion to compel early disclosure of Rule

  404(b) evidence is denied as moot.

     XVII.   Motion to Compel Government’s Disclosure of “All Items
             Intended by the Government to be Introduced Into
             Evidence”

             Barret moves for an order compelling the government to

  produce “a list of all items intended by the government to be

  introduced into evidence,” purportedly “to provide counsel an

  opportunity for review” and “to assist this court in reaching an

  early determination of admissibility [of the evidence] pursuant

  to [Federal Rule of Evidence 104].”        (Barret Br. at 27.)        The

  government did not oppose this motion.         Because the government

  did oppose defendant’s motions for early disclosure of Jencks

  material (see Gov’t Opp’n at 54–57); Brady material (see id. at

  51); Giglio material (see id. at 52–53); and Rule 404(b)

  material (see id. at 60–61), all of which are encompassed in the

  instant motion, the court presumes that the government also

  opposes this motion.



                                        83
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11    Page 84 of 97 PageID #: 975



             “[T]he Government is not required to disclose all of

  its evidence to the defense before trial.”             Vargo v. United

  States, No. 06-CV-4846, 2008 WL 2437861, at *7 (E.D.N.Y. June

  13, 2008) (citing Mehler et al., Federal Criminal Practice: A

  Second Circuit Handbook §§ 14-2, 14-3, 14-4 (2006 ed.)).

  Accordingly, the court denies defendant’s overbroad request for

  pre-trial disclosure of evidence, see Ojeikere, 299 F. Supp. 2d

  at 257 (denying defendant’s pre-trial motion for “disclosure of

  all evidence the prosecution intends to use”), but, as noted

  above, has already set dates for specific disclosures and

  motions pursuant to Federal Rule of Evidence 404(b).

     XVIII. Motion for Extension of Time to File Motion to
            Suppress

             During a status conference on September 14, 2011, the

  court ordered defendants to file all of their pre-trial motions

  by September 23, 2011.      (See Minute Entry dated 9/14/2011.)

  Later that day, the court issued a pre-trial scheduling order,

  again directing all defendants to “SERVE and FILE all of

  defendants’ pre-trial motions” by September 23, 2011.               (See Pre-

  Trial Scheduling Order at ¶ 3.)        Manning and Anderson include

  motions to suppress evidence in their timely filed pre-trial

  motions.   (See Anderson Br. at 12–13; Manning Br. at 2–4.)

  Barret, however, moves for an extension of time for filing his

  motion to suppress.     (Barret Br. at 17, 19.)          Barret contends


                                        84
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 85 of 97 PageID #: 976



  that he cannot move to suppress evidence before the court grants

  his motion for an order compelling the government to specify

  which evidence it intends to introduce during its case-in-chief

  at trial.   (Id. at 17.)     The government opposes Barret’s motion

  on grounds that he is not entitled to a list of “specific

  evidence” that the government intends to use during its case-in-

  chief and that Barret has disregarded the court’s briefing

  schedule for the pre-trial motions.        (Gov’t Opp’n at 62.)

          A. Motion To Compel the Government to Specify Evidence It
             Intends to Introduce at Trial

                   1. Legal Standard

              Barret supports his motion with reference to “Fed R.

  Crim. P. 12(d)(2),” which he claims “provides a mechanism for

  insuring that a defendant knows of the government’s intention to

  use evidence to which the defendant may want to object.”

  (Barret Br. at 17.)     Federal Rule of Criminal Procedure 12(d)(2)

  no longer exists, and the court construes Barret’s motion as one

  brought under Federal Rule of Criminal Procedure 12(b)(4)(B),

  which provides that a defendant “may, in order to have an

  opportunity to move to suppress evidence under Rule 12(b)(3)(C),

  request notice of the government’s intent to use (in its

  evidence-in-chief at trial) any evidence that the defendant may

  be entitled to discover under Rule 16.”          Fed. R. Crim. P.

  12(b)(4)(B).


                                        85
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 86 of 97 PageID #: 977



              “Rule 12(b)(4)(B) is not designed or intended to be

  used to obtain more specific discovery than that provided by

  Rule 16,” nor is it “designed to aid the defendant in

  ascertaining the Government’s trial strategy.”            Koschtschuk,

  2010 WL 584018, at *10 (citation and internal quotation marks

  omitted).   Rather, “Rule 12(b)(4)(B) is intended to facilitate

  efficient suppression motion practice by allowing the defendant

  to avoid filing a motion to suppress when the Government does

  not intend to use the evidence at issue.”          Id. at *10.

                   2. Application

              The court has reviewed the letters accompanying the

  government’s Rule 16 disclosures to date.          The court notes that

  the bulk of discovery was provided more than nine months ago,

  between December 2010 and February 2011, and that the evidence

  does not appear to be so overwhelming and voluminous as to

  preclude the opportunity for sufficient review.            See United

  States v. Swain, No. S4 08 Cr. 1175, 2011 WL 4348142, at *7

  (S.D.N.Y. Aug. 16, 2011) (denying Rule 12(b)(4)(B) motion in

  part because defendant had “sufficient time and information to

  determine whether to file a suppression motion” because he had

  been given over seventeen months to review the bulk of Rule 16

  discovery material, which spanned over 13,000 pages).

              Moreover, the court finds that the evidence provided

  through Rule 16 discovery appears to be sufficiently specific

                                        86
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 87 of 97 PageID #: 978



  such that any further specification of evidence the government

  intends to use at trial would require the government to reveal

  its trial strategy.     See Koschtschuk, 2010 WL 584018, at *10

  (denying Rule 12(b)(4)(B) motion because granting motion would

  “necessarily aid defendants in ascertaining the government's

  trial strategy” and the court found “no basis for the government

  to more specifically identify the evidence that it intends to

  use in its case in chief at trial”); see also Vilar, 530 F.

  Supp. 2d at 636 (“[I]t is well-settled that Rule 16(a)(1)(e)

  does not require the Government to identify specifically which

  documents it intends to use as evidence.”) (internal quotation

  marks omitted).    Accordingly, the court denies Barret’s Rule

  12(b)(4)(B) motion for an order compelling the government to

  specify which evidence it intends to introduce at trial.

          B. Motion for Extension of Time

             “A party waives its ability to move to suppress

  evidence if it fails to do so by the pre-trial deadline set by

  the court, except that the district court may grant relief from

  that waiver “[f]or good cause.”        United States v. Kopp, 562 F.3d

  141, 143 (2d Cir. 2009) (citing Fed. R. Crim. P. 12(e)).              Here,

  Barret has not shown “good cause” for his failure to file any

  suppression motions prior to the court’s deadline for submission

  of pre-trial motions.      Nonetheless, during the November 10, 2011



                                        87
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 88 of 97 PageID #: 979



  status conference, the court granted Barret’s motion for an

  extension of time to file his motions to suppress.

     XIX. Motion to Compel Early Disclosure of Co-Conspirator
          Statements

             Barret moves for an order compelling the government to

  disclose (1) any co-conspirator statements it intends to offer

  at trial and (2) how the government intends to establish that

  each statement was made by a co-conspirator during the course of

  and in furtherance of the conspiracy.          (Barret Br. at 29–30.)

  In opposition, the government argues that in the Second Circuit,

  early disclosure of co-conspirator statements is not necessary

  absent exceptional circumstances, and that Barret has “failed to

  demonstrate why receiving such material[] one week prior to

  trial would be insufficient.”         (Gov’t Opp’n at 56–57.)

          A. Legal Standard

             As an initial matter, “[s]tatements of non-testifying

  co-conspirators are not discoverable at all.”             Rivera, 2010 WL

  1438787, at *5 n.2; see also United States v. Yarborough, No.

  06–CR–190(A), 2007 WL 962926, at *16 (W.D.N.Y. Mar. 28, 2007)

  (“Statements of co-conspirators whom the Government does not

  intend to call as witnesses at trial are not discoverable,

  pursuant to established precedent within this circuit and the

  provisions of the Jencks Act.”) (citing In re United States, 834

  F.2d 283, 286 (2d Cir. 1987)).


                                        88
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 89 of 97 PageID #: 980



             Statements of testifying co-conspirators constitute

  Jencks Act material, which is discoverable only after the

  witness has testified on direct examination.           See 18 U.S.C. §

  3500; see also Fed. R. Crim. P. 16(a)(2) (discovery of

  statements made by prospective government witnesses not

  authorized “except as provided in 18 U.S.C. § 3500”).              Thus, the

  Jencks Act prohibits this court from compelling the government’s

  pretrial disclosure of testifying co-conspirators’ statements.

  Coppa, 267 F.3d at 145; see also In re United States, 834 F.2d

  at 286 (finding that “[a] co-conspirator who testifies on behalf

  of the government is a witness under the [Jencks] Act,” which

  “provides the exclusive procedure for discovering statements

  that government witnesses have given to law enforcement

  agencies”).

          B. Application

             In light of the foregoing, Barret’s motion for an

  order compelling the government to disclose any co-conspirator

  statements it intends to offer at trial is denied.             See Rivera,

  2010 WL 1438787, at *5 (denying motion to compel early

  disclosure of co-conspirator’s statement); see also United

  States v. Russo, 483 F. Supp. 2d 301, 310 (S.D.N.Y. 2007)

  (denying motion to compel government’s identification of co-

  conspirator statements and the circumstances surrounding those

  statements because defendants had “identified no reason why the

                                        89
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 90 of 97 PageID #: 981



  normal process of disclosure through the ordinary course of

  discovery, rulings on admissibility through motions in limine,

  and objections during the course of trial” were inadequate).

  Consequently, Barret’s motion for an order compelling the

  government to disclose how it intends to establish that each

  statement was made by a co-conspirator during the course of and

  in furtherance of the conspiracy is denied.

     XX.   Motion to Suppress Manning’s Post-Arrest Statements

             Manning moves to suppress her post-arrest statements

  on grounds that officers lacked probable cause to effectuate the

  underlying arrest, making her statements inadmissible as “fruit

  of the poisonous tree.”      (Manning Br. at 1, 4; Manning Reply at

  2–5, 7–8.)    In opposition, the government argues that police

  officers had authority to temporarily detain Manning, an

  occupant of the home who was present at the time of the search,

  because they had lawfully executed a search warrant at the

  Barret Residence and, given the totality of the circumstances,

  the officers had probable cause to believe that Manning had

  committed or was committing an offense and to arrest her.

  (Gov’t Opp’n at 27–30.)

           A. Legal Standard

             “The Fourth Amendment right to be free from

  unreasonable seizures ‘includes the right to be free from arrest

  absent probable cause.’”      Torraco v. Port Auth. of New York and

                                        90
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 91 of 97 PageID #: 982



  New Jersey, 615 F.3d 129, 139 (2d Cir. 2010) (quoting Jaegly v.

  Couch, 439 F.3d 149, 151 (2d Cir. 2006)).          The Supreme Court

  “repeatedly has explained that ‘probable cause’ to justify an

  arrest means facts and circumstances within the officer’s

  knowledge that are sufficient to warrant a prudent person, or

  one of reasonable caution, in believing, in the circumstances

  shown, that the suspect has committed, is committing, or is

  about to commit an offense.”      Michigan v. DeFillippo, 443 U.S.

  31, 37 (1979) (citing Gerstein v. Pugh, 420 U.S. 103, 111

  (1975); Adams v. Williams, 407 U.S. 143, 148 (1972); Draper v.

  United States, 358 U.S. 307, 313 (1959); see also Manganiello v.

  City of New York, 612 F.3d 149, 161 (2d Cir. 2010).

             Where police have probable cause to believe an

  individual has committed or is committing a crime, the police

  may arrest that individual without a warrant.            Draper, 358 U.S.

  at 310-11.    The existence of probable cause “depends upon the

  reasonable conclusion to be drawn from the facts known to the

  arresting officer at the time of the arrest,” without regard to

  “the officer’s state of mind (except for the facts that he

  knows).”   Devenpeck v. Alford, 543 U.S. 146, 152-153 (2004)

  (citing Maryland v. Pringle, 540 U.S. 366, 371 (2003) and Whren

  v. United States, 517 U.S. 806, 812-13 (1996) (reviewing

  cases)).



                                        91
Case 1:10-cr-00809-KAM   Document 289    Filed 11/16/11   Page 92 of 97 PageID #: 983



          B. Application

             Manning argues that her warrantless arrest in her home

  was unsupported by probable cause.         In the alternative, she

  argues that even if there was probable cause for her arrest, the

  police should have obtained a warrant because she was in her

  home at the time of the arrest.        The court finds that Manning’s

  arguments lack merit.

             First, the court finds that there was probable cause

  to support Manning’s arrest.        When officers entered her home to

  execute a search warrant on October 7, 2010, they found in plain

  view the nine cardboard boxes that Barret and Wilson had

  unloaded into the home earlier in the day, and the officers

  found a green leafy substance in each box that subsequently

  tested positive for marijuana.        (Compl. at ¶ 16.)        The agents

  also saw brick-like bales of marijuana on the kitchen counter, a

  black garbage bag full of marijuana, heat-sealer machines,

  narcotics packaging materials consistent with those found during

  prior trash inspections, and a loaded, semi-automatic pistol on

  the living-room floor.      (Id.)     Furthermore, agents recovered a

  clear, plastic bag containing marijuana and several thousand

  dollars in United States currency from the bedroom that Barret

  and Manning shared.     (Id.)   The court finds that given these

  circumstances, a prudent person, or one of reasonable caution,

  would believe that Manning and others present in the house at

                                        92
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 93 of 97 PageID #: 984



  the time, committed or were in the process of committing a

  crime.   Consequently, there was probable cause to support

  Manning’s arrest.

             Second, the court finds unavailing Manning’s argument

  that, notwithstanding the existence of probable cause, an arrest

  inside her home was improper because officers did not first

  obtain an arrest warrant.      In support of her argument, Manning

  erroneously relies on Payton v. New York, 445 U.S. 573 (1980), a

  case in which the Supreme Court held that “the Fourth Amendment

  . . . prohibits the police from making a warrantless and

  nonconsensual entry into a suspect’s home in order to make a

  routine felony arrest.”      Id. at 576.     Payton is inapposite here

  because officers had a warrant to enter Manning’s home--a fact

  Manning concedes--and “Payton is primarily concerned with the

  ‘unauthorized entry into a dwelling’--a concern that evaporates

  when the home entry is supported by a valid search warrant.”

  United States v. Bethea, No. 1:07-CR-3, 2007 WL 3025042, at *3

  (D. Vt. Oct. 12, 2007) (citing United States v. Winchenbach, 197

  F.3d 548, 554 (1st Cir. 1999)).

             In United States v. Heath, 455 F.3d 52 (2d Cir. 2006),

  the Second Circuit noted that officers who lawfully entered a

  home pursuant to a search warrant and observed bags of cocaine

  in plain view could reasonably have concluded that an occupant

  present in that home at the time had committed or was committing

                                        93
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 94 of 97 PageID #: 985



  a crime.   Id. at 57.    Consequently, where “there is no evidence

  that any precautions were taken to prevent people in the house

  from coming across the putatively visible contraband,” the

  Second Circuit went on to state, “reasonably cautious police

  officers could have concluded that the home’s adult occupants

  were complicit in the illegal activities involving the

  contraband” and “[i]t follows that the law enforcement officials

  seemingly had a valid ground for arresting both of the adult

  occupants of the . . . residence.”         Id.; see also United States

  v. MacDonald, 916 F.2d 766, 770 (2d Cir. 1990) (holding that

  undercover agent’s observation of cocaine and marijuana in plain

  view throughout an apartment containing six men provided

  probable cause for warrantless arrest of all six occupants).

             The court finds that as in Heath, because officers

  entered the Barret Residence under the authority of a search

  warrant and discovered “putatively visible contraband,” officers

  did not need a warrant to lawfully arrest Manning in her home.

  Accordingly, the court denies Manning’s motion to suppress her

  post-arrest statements on grounds that her arrest was unlawful.

     XXI. Motion for Leave to File Additional Motions

             The movants request leave to file additional motions

  as appropriate or as justice requires.         (See Forrest Mot. at

  ¶ 3; Anderson Br. at 25; Manning Br. at 1; Barret Br. at 30.)

  The court denies without prejudice defendants’ motion and will

                                        94
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 95 of 97 PageID #: 986



  allow further motions only for good cause shown.            Given the

  approaching trial date and the court’s expectation that all

  parties would abide by the briefing schedule it set for pre-

  trial motions, the court will reject any future motions if they

  rehash issues or are based on facts and legal arguments that

  could have been brought to the court’s attention in the current

  motions.

                                  CONCLUSION

             For the foregoing reasons, the court (1) grants to

  each movant leave to join in each other’s motions; (2) denies

  the movants’ motion for severance; (3) denies the motion for a

  bill of particulars; (4)(a) denies the motion to compel the

  immediate disclosure of identity and other information of any

  government informants and (b) denies the motion to compel the

  immediate disclosure of information related to unindicted co-

  conspirators; (5) denies the motion to dismiss the indictment on

  grounds that it impermissibly combines multiple crimes in one

  count of conspiracy; (6) denies the motion for release and

  review of the grand jury minutes; (7) denies the motion to

  suppress evidence from Subject Telephone 11; (8) denies without

  prejudice Barret’s motion to strike his aliases from the

  indictment as surplusage; (9)(a) denies the motion to dismiss

  the Superseding Indictment on grounds of insufficiency, (b)

  denies the motion to dismiss the indictment based on alleged

                                        95
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 96 of 97 PageID #: 987



  destruction of evidence; and (c) denies the motion for a Massiah

  hearing; (10) denies without prejudice the motion for a hearing

  concerning the authenticity, audibility and visual clarity of

  recorded materials; (11)(a) denies as moot the motion to compel

  production of evidence pursuant to Rule 16 and (b) denies as

  moot the motion for an order directing the government to isolate

  the “precise . . . times of all pertinent images the Government

  intends to offer at trial”; (12)(a) denies the motion to compel

  immediate disclosure of Brady material, with leave to renew if a

  defendant gives the court reason to believe that the government

  is not complying with its obligations, and (b) denies the motion

  for immediate disclosure of Giglio material, but directs the

  government to disclose this material to defendants by December

  27, 2011; (13) denies as moot the motion for early disclosure of

  Jencks Act material because the court has already ordered the

  government to produce this material by December 27, 2011;

  (14) denies the motion to compel the government’s disclosure of

  a witness list; (15) grants the motion to compel the government

  to preserve all rough notes taken as part of the investigation

  of the instant case that (a) currently exist at the time of this

  order, or (b) are created afterwards; (16) denies Barret’s

  motion to compel pre-trial production Rule 404(b) evidence as

  moot in light of the court’s order that all parties shall submit

  Rule 404(b) motions by November 21, 2011; (17) denies the motion

                                        96
Case 1:10-cr-00809-KAM   Document 289   Filed 11/16/11   Page 97 of 97 PageID #: 988



  for an order compelling the government to produce “a list of all

  items intended by the government to be introduced into

  evidence”; (18)(a) denies the Rule 12(b)(4)(B) motion for an

  order compelling the government to specify which evidence it

  intends to introduce at trial and (b) has granted the motion for

  an extension of time to file motions to suppress; (19)(a) denies

  the motion for an order compelling the government to disclose

  any co-conspirator statements it intends to offer at trial, and

  (b) denies the motion for an order compelling the government to

  disclose how it intends to establish that each statement was

  made by a co-conspirator during the course of and in furtherance

  of the conspiracy; (20) denies Manning’s motion to suppress her

  post-arrest statements; and (21) denies without prejudice

  defendants’ motion for leave to file additional motions as

  appropriate or as justice requires.

  SO ORDERED.


  Dated:     November 16, 2011
             Brooklyn, New York



                                             __________/s/_________________
                                             KIYO A. MATSUMOTO
                                             United States District Judge
                                             Eastern District of New York




                                        97
